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                            UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF TEXAS
                                  DALLAS DIVISION

PATRICIA A. MAGRUDER,                         §
On Behalf of Herself and All Others           §
Similarly Situated,                           §      CASE NO. 3:05-CV-1156-N
                                              §
       Plaintiff,                             §
                                              §
vs.                                           §      THIS DOCUMENT RELATES TO:
                                              §
HALLIBURTON COMPANY                           §      MAGRUDER
AND DAVID LESAR                               §
                                              §
       Defendants.                            §


             AMENDED CLASS ACTION COMPLAINT FOR VIOLATIONS
                      OF FEDERAL SECURITIES LAWS

       COMES NOW the Plaintiff, Patricia A. Magruder, individually and on behalf of all others

similarly situated, by and through her attorneys, and alleges the following:

                                      I. INTRODUCTION

       1.      Plaintiff brings this class action1 for violations of the Securities Exchange Act of

1934, 15 U.S.C. § 78 et sec. (the "Exchange Act") against Halliburton Company ("Halliburton") and

its chief executive officer on behalf of the segment of the class of public investors who purchased,

held or otherwise acquired the common stock of Halliburton on the open market during the period

December 8, 2001 through July 22, 2002, inclusive (the "Class Period").

       2.      This action addresses the claims of those shareholders who purchased, acquired or

held the common stock of Halliburton during the Class Period. Material misrepresentations,



       1
        As with its predecessor, the present Complaint is filed pursuant to this Court’s Order
permitting the undersigned to initiate an action on behalf those investors purchasing shares
subsequent to December 7, 2001.
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 omissions and partial disclosures were made by Defendants both before and during the Class Period

 with no corrective disclosure or corrective steps being taken and as a result, shareholders paid an

 inflated price for the stock, were damaged when the value of those securities tumbled as the public

 slowly became aware of the truth, and were denied the opportunity to trade the stock upon full

 knowledge of Halliburton’s financial condition.

       3.      More particularly, despite Defendants’ actual knowledge during the Class Period that

the Company: (i) faced billions of dollars in liability arising from asbestos claims; (ii) was suffering

more than $100 million in losses associated with its Barracuda construction project in Brazil; (iii)

failed to properly alert the market about changes in accounting practices which lead to and

investigation by the United States Securities Exchange Commission; and (iv) failed to comply with

Generally Accepted Accounting Principles (“GAAP”) in preparing its financial statements. Despite

this awareness, Defendants issued public statements which failed to aprise the investing public of the

Company’s true financial condition.

                                  II. PROCEDURAL HISTORY

       4.      On June 3, 2002 the first of a number of actions against Halliburton were initiated in

the United States District Court for the Northern District of Texas. Pursuant to the provisions of the

Private Securities litigation Reform Act (“PSLRA”), several parties moved for appointment as lead

plaintiff. On December 5, 2002 the Court entered Pretrial Order No. 1, consolidating the actions

under case number 3:02-cv-01156, and appointing Private Asset Management, Gabriel Forrest, Paul

J. Benec and the AMS Fund as lead plaintiffs, and the law firm of Schiffrin & Barroway as lead

counsel. Subsequently, in early April 2003, settlement negotiations resulted in a preliminary

agreement to settle the outstanding claims for a class period spanning January 1, 1998 to May 28,

2002. However, several groups objected to the fairness of the settlement, which was ultimately
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rejected by this Court. Litigation recommenced with the class represented by new lead counsel, and

a Third Amended Complaint was filed on May 9, 2005. The Third Amended Complaint was brought

on behalf of those who purchased or otherwise acquired Company shares between June 3, 1999 and

December 7, 2001 – thereby excluding members of the proposed settlement class acquiring

shares thereafter who had previously been members of the class under terms of the proposed

settlement. Plaintiff in the present action, Patricia Magruder, requested and was granted the

opportunity to file a separate complaint in on behalf of those acquiring shares subsequent to

December 7, 2001.

                                            III. PARTIES

        5.      Plaintiff Magruder purchased the securities of Halliburton Company during the Class

Period at an artificially inflated price due to material and undisclosed financial charges and liabilities

present but undisclosed during the Class Period and has been damaged thereby.

        6.      Defendant Halliburton Company (“Halliburton” or the “Company”), is a Delaware

corporation with its principal place of business in Dallas, Texas. According to the Company,

Halliburton is a global energy services company.

        7.      Defendant David J. Lesar is the Chairman of the Board and President and Chief

Executive Officer of Halliburton.

        8.      Because of Lesar’s position with the Company, he had access to the adverse

undisclosed information about the Company's business, operations, operational trends, financial

statements, markets and present and future business prospects via access to internal corporate

documents (including the Company's operating plans, budgets and forecasts, and reports of actual

operations compared thereto), conversations and connections with other corporate officers and

employees, attendance at management and Board of Directors meetings and committees thereof and
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via reports and other information provided to them in connection therewith.

       9.      As detailed herein, large-scale construction contracts and asbestos-related liabilities

represent central components of Halliburton’s corporate operations. As such, Lesar, in his capacity

as a key officer and director of the Company, is deemed to have intimate knowledge of those

activities. On this very topic, Judge Melinda Harmon of the Southern District of Texas has agreed

that “facts critical to a business’ core operations of an important transaction generally are so apparent

that they may be attributed to the company and its key officers.” In re Sec. Litig. BMC Software, Inc.,

183 F.Supp.2d 860, 910 (S.D. Tex. 2001). This observation applies with particular emphasis here,

given that Lesar is a Certified Public Accountant. Undoubtedly, he would take special notice of

matters such as secret changes in accounting practices and the establishment of reserves to cover

enormous legal liabilities, exactly the subject matter of the misrepresentations and omissions alleged

in this Complaint, because these are issues that would – and did – directly affect Halliburton’s

financial statements and performance.

       10.     Lesar served as an officer, director and controlling person of a publicly-held company

whose common stock was, and is, registered with the SEC pursuant to the 1934 Act, was traded on

the New York Stock Exchange (“NYSE”), and is governed by the provisions of the federal securities

laws. As such, Lesar had a duty to promptly disseminate accurate and truthful information with

respect to the Company's financial condition and performance, growth, operations, financial

statements, business, markets, management, earnings and present and future business prospects, and

to correct any previously-issued statements that had become materially misleading or untrue, so that

the market price of the Company's publicly-traded common stock would be based upon truthful and

accurate information. Lesar’s misrepresentations and omissions during the Class Period violated

these specific requirements and obligations.
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       11.     Lesar participated in the drafting, preparation, and/or approval of the various public,

shareholder and investor reports and other communications complained of herein and was aware of,

or recklessly disregarded, the misstatements contained therein and omissions therefrom, and was

aware of their materially false and misleading nature. Because of his Board membership and

executive and managerial positions with Halliburton, Lesar had access to the adverse undisclosed

information about Halliburton’s financial condition and performance as particularized herein and

knew (or recklessly disregarded) that these adverse facts rendered the positive representations made

by or about Halliburton and its business issued or adopted by the Company materially false and

misleading.

       12.     Lesar, because of his position of control and authority as an officer and director of the

Company, was able to and did control the content of the various SEC filings, press releases and other

public statements pertaining to the Company during the Class Period. Lesar was provided with copies

of the documents alleged herein to be misleading prior to or shortly after their issuance and/or had

the ability and/or opportunity to prevent their issuance or cause them to be corrected. Accordingly,

Lesar is responsible for the accuracy of the public reports and releases detailed herein and is therefore

primarily liable for the representations contained therein.

       13.     Each of the Defendants is liable as a participant in a fraudulent scheme and course of

conduct that operated as a fraud or deceit on purchasers of Halliburton common stock by

disseminating materially false and misleading statements and/or concealing material adverse facts.

The scheme:     (i) deceived the investing public regarding Halliburton’s business, operations,

management and the intrinsic value of Halliburton common stock; and (ii) caused Plaintiffs and other
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members of the Class to purchase Halliburton common stock at artificially inflated prices.

                               IV. JURISDICTION AND VENUE

       14.     The claims asserted in this Complaint arise pursuant to Sections 10(b) and 20(a) of

the Securities Exchange Act [15 U.S.C. §§78(b) and 78t(a)] and Rule 10b-5 promulgated thereunder

by the United States Securities and Exchange Commission ("SEC") [17 C.F.R.§240.10b-5].

       15.     This Court has jurisdiction over the subject matter of this action pursuant to 28 U.S.C.

§§ 1331 and 1337, and Section 27 of the Exchange Act [15 U.S.C. §§78aa].

       16.     Venue is proper in this District pursuant to Section 27 of the Exchange Act and 28

U.S.C. § 1391(b). Halliburton maintains a place of business in this district and the acts complained

of herein occurred in substantial part in this district. Halliburton has appeared herein.

       17.     In connection with the acts alleged in this Complaint, Defendants, directly or

indirectly, used the means and instrumentalities of interstate commerce, including, but not limited to,

the mails of the United States and the facilities of the national securities exchanges and markets.

                     V. PLAINTIFFS' CLASS ACTION ALLEGATIONS

       18.     Plaintiff brings this class action lawsuit pursuant to Federal Rule of Civil Procedure

23(a) and (b)(3) on behalf of a Class, consisting of all those who purchased, held or otherwise

acquired the common stock of Halliburton between December 8, 2001 and July 22, 2002 (or to the

end of the Class Period which is established by this Court). Excluded from the Class are Defendants,

the officers and directors of the Company at all relevant times, members of their immediate families

and their legal representatives, entities in which they have a controlling interest, and their heirs,

successors or assigns.

       19.     The members of the Class are so numerous that joinder of all members is

impracticable. Throughout the Class Period, Halliburton shares were actively traded on the NYSE.
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On Friday, December 7, 2001 and in the following week nearly 200 million shares changed hands,

when normal daily volume did not exceed 1 million shares per day.

       20.     Plaintiff's claims are typical of the claims of the members of the Class, as all members

of the Class have been similarly affected by Defendants’ wrongful conduct in violation of Federal

Law detailed in this Complaint.

       21.     Plaintiff will fairly and adequately protect the interests of the members of the Class

and has retained counsel competent and experienced in class and securities litigation.

       22.     Common questions of law and fact exist as to all members of the Class and

predominate over any questions solely affecting individual members of the Class. Among the

questions of law and fact common to the Class are:

       •       whether the federal securities laws were violated by Defendants' acts as alleged herein;

       •       whether Halliburton and Lesar made representations, withheld information, and
               improperly failed to disclose before the public and press and financial analysts an
               accurate view of the Company's financial position;

       •       whether Defendants made statements regarding Halliburton’s business affairs and
               financial information which omitted material facts necessary to make the statements
               in light of the circumstances under which they were made, not misleading;

       •       whether Defendants properly and promptly made disclosures about Halliburton’s
               “product liability” liabilities and insurance situation and Halliburton’s failure to make
               or establish appropriate reserves;

       •       whether the reasons given by Defendants for Halliburton’s accounting treatment and
               reserves for Halliburton’s asbestos liability were full and complete when made;

       •       whether corrective disclosures made by Defendants regarding Halliburton’s asbestos
               liability were full and complete;

       •       whether Lesar acted with actual knowledge or severely reckless disregard of the
               materially misleading nature of each such statement or omission;

       •       whether the common stock of Halliburton was artificially inflated during the Class
               Period and subject to financial statement changes;
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        •       the extent of damages sustained by Class Members and the appropriate measure of
                damages.

        23.     Plaintiff's claims are typical of those of the Class because Plaintiff and the Class

sustained damages from Defendants' wrongful conduct.

        24.     A class action is superior to all other available methods for the fair and efficient

adjudication of this controversy since joinder of all members is impracticable. Furthermore, as the

damages suffered by individual class members may be relatively small, the expense and burden of

individual litigation make it impossible for members of the Class to individually redress the wrongs

done to them. There will be no difficulty in the management of this action as a class action.

                                    VI. BACKGROUND FACTS

        25.     Halliburton Company provides a variety of services, products, maintenance,

engineering, and construction to energy, industrial, and governmental customers. As detailed in its

most recent Form 10-K filing, the Company’s six business segments include: Production

Optimization, Fluid Systems, Drilling and Formation Evaluation, Digital and Consulting Solutions

(formerly Landmark and Other Energy Services), Energy and Chemicals, and Government and

Infrastructure. The Company refers to the combination of Production Optimization, Fluid Systems,

Drilling and Formation Evaluation, and Digital and Consulting Solutions segments as the Energy

Services Group and to the Government and Infrastructure and Energy and Chemicals segments as

KBR.

        26.     The events recounted in these Background Facts occurred against the backdrop of

(i) Halliburton’s 1998 acquisition of Dresser Industries, Inc. (“Dresser”), a chief competitor in the

construction field; (ii) entry into a $2.5 billion fixed price contract for the construction of two natural

gas pumping stations with Brazilian-owned Petrobras; and (iii) a unannounced change in the way in
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which the Company recognized revenue..

       27.     As part of the Dreser transaction, which came to pass after a very minimal pre-

acquisition due diligence investigation, Halliburton assumed all of Dresser’s assets and liabilities.

Indeed, an April 4, 2005 Fortune article confirms that this due diligence was “carried out too quickly”

and resulted in Halliburton acquiring Dresser “near the top of the market, at a 16% premium.”

       28.     Among other things, the Dresser acquisition caused Halliburton to take on additional

significant liability for asbestos and related claims. Halliburton knew Dresser was named in many

asbestos actions together with a company, Harbison-Walker, that Dresser had spun off in 1992. This

actual knowledge is confirmed by the fact that Halliburton had line items on its financial statements

with respect to an asbestos claim reserve and had the quarterly responsibility to adjust that reserve.

Defendants failed to adequately apprise the market of the profound asbestos liability Halliburton

faced, particularly after the Dresser acquisition. Along these lines, the prospectus sent to Halliburton

shareholders seeking approval of the Dresser transaction did not list asbestos liability as a risk.

Reflecting on the Dresser deal, John Harbin, the former CEO of Halliburton, lamented, “[Halliburton]

bought Dresser in 1998 and paid a 16% premium. With that acquisition [the Company] bought $4

billion of asbestos liability. Would you pay a 16% premium to buy a $4 billion asbestos liability?”

Defendants failed to properly inform investors of the multi-billion dollar liability for some four years.

       29.     The Barracuda/Caratinga (“Barracuda”) project, the largest single contract in Company

history, was a fixed-price contract executed by Halliburton on June 5, 2000, requiring the Company

to develop the Barracuda and Caratinga oil fields in deep water Brazil for Petrobas in exchange for

a lump sum payment of $2.5 billion. Although originally heralded as the wave of the future, the

Barracuda project was actually beset by cost overruns and change orders, resulting in enormous losses

exceeding some $700 million to Halliburton. As reflected herein, the Company failed to timely
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apprise investors of this financial disaster, thereby artificially inflating its revenues.

        30.     Finally, at the time it reported year-end results in 1998, the Company revealed that it

had taken a $60 million charge for claims that customers declined to pay. Materially misstating its

actual practices, Halliburton asserted that the write-off was not the result of premature revenue

recognition, but rather a change-of-heart by the customer. This subterfuge lead the market to believe

that Halliburton was complying with its reported policy of recognizing claims only after customer

agreement.    However, in fact, the Company recognized hundreds of millions of dollars in

contravention of its reported revenue recognition policies. Such information was buried in its 1999

Form 10-K, which stated that “[c]aims and change orders which are in the process of being negotiated

with customers, for extra work or changes in the scope of work are included in revenue when

collection is deemed probable.” This revelation was in direct contravention of its previously

announced practice that “[c]laims for additional compensation are recognized during the period such

claims were resolved..”     Moreover, the financial impact of the unannounced accounting policy

change was profound. For example, in 1998 the Company accrued $89 million in unapproved claims,

and $98 million in unapproved claims in 1999. The failure to reveal this practice prevented investors

from understanding the true nature of the Company’s reported income. When the New York Times

revealed such practice and the SEC announced an investigation in May, 2002, Halliburton stock

declined sharply.

                           VII. MATERIALLY FALSE
               AND MISLEADING STATEMENTS MADE BY DEFENDANTS

A.      Pre-Class Period Statements and Events

        32.     On August 10, 2000, Halliburton filed its Form 10-Q with the SEC for the second

quarter of 2000, the period ended June 30, 2000, which confirmed previously announced financial
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results. In addition, the Form 10-Q represented that the financial statements contained therein were

prepared consistently with GAAP requirements for interim financial reports and that the filing

presented Halliburton's finances fairly, stating the following in note 1 to the quarterly financial

statement, titled "Management Representations:"

          The accompanying unaudited condensed consolidated financial statements were
          prepared using generally accepted accounting principles for interim financial
          information and the instructions to form 10-Q and applicable rules of Regulation S-X.
          Accordingly, these financial statements do not include all information and footnotes
          required by generally accepted accounting principles for complete financial statements
          and should be read in conjunction with our 1999 Annual Report on Form 10-K. Prior
          year amounts have been reclassified to conform to the current year presentation.

          In our opinion, the condensed consolidated financial statements present fairly our
          financial position as of June 30, 2000, and the results of our operations for the three
          and six months ended June 30, 2000, and our cash flows for the six months then
          ended.

          33.    Neither this statement, nor any of those made during or before the Class Period by

the Company or any persons associated with it, truthfully and fully revealed Halliburton’s

implementation of an accounting change impacting its bottom line. Under Halliburton’s previous,

long-standing accounting policy, the Company immediately accounted for “anticipated” losses on

contracts. By contrast, money Halliburton hoped to collect via Unapproved Claims to clients,

represented by cost overrun or change order charges to existing contracts, were not credited until the

customer agreed to pay a particular Unapproved Claim. At some time preceding the Class Period,

however, in approximately 1997 or 1998, Halliburton started recognizing the amounts of unapproved

claims as revenue, despite the fact that its clients had no obligation to pay such charges under the

fixed-price/lump-sum contracts Halliburton had executed. The company modified its accounting

policy, nonetheless, and this materially inflated Halliburton’s revenues and earnings during the Class

Period.
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       34.     Halliburton consistently hid this revision from the public, both before and during the

Class Period. For example, as early as the fourth quarter of 1998, when attributing a $60 million

charge entirely to unapproved claims, Halliburton denied that this measure was due to the practice

of precipitously counting such items as revenue. Rather, according to the Company, the write-down

occurred because some clients experienced a change of heart, refusing to pay for unapproved claims

they previously allowed. Still, Halliburton asserted that this experience had caused it to change the

protocol for Unapproved Claims, in that it would no longer permit change orders unless the customer

agreed up front to pay for the work. To outsiders, this appeared entirely consistent with the

accounting policy traditionally followed by the Company, which did not include unapproved claims

within revenue until the customer agreed to pay these amounts. This was not the case at all, however.

In truth, as indicated in the previous paragraph, Halliburton had recently decided to record

Unapproved Claims as revenue whether or not clients consented to them.

       35.     To emphasize, Halliburton’s change in accounting principle was not disclosed or

justified in any of its pre-Class Period or Class Period financial statements, nor was the enhancing

effect of the change on Halliburton’s net income specifically disclosed as required by GAAP. Instead,

Halliburton made no disclosure of any change in its 1998 Form 10-K. Thereafter, in Halliburton’s

Halliburton merely stated: “Claims and change orders which are in the process of being negotiated

with customers, for extra work or changes in the scope of the work are included in revenue when

collection is deemed probable.” In violation of GAAP, this statement did not reveal that a change in

accounting principle had taken place, nor did Halliburton attempt to justify the basis for such a

change, why it was preferable or disclose the effect of the change on net income. As such, all of

Halliburton’s reported financial results and financial statements issued during this time period were

materially false and misleading when made.
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       36.    In summary, Halliburton revealed at the end of fiscal 1998 that it had taken a charge

for unapproved claims customers would not agree to pay. These statements were fundamentally

misleading, for they suggested that the Company was following the revenue policy announced in its

SEC filings that revenues were recognized only after the customer agreed to pay for them. This

subterfuge fooled analysts covering the Company. For example, on February 17, 1999, Prudential

Securities reported that a February 9, 1999 presentation by Company executives lead the analyst to

conclude as follows:

       We should note that the $60 million provision recognized by BRES covers additional
       costs that HAL incurred due to change orders that typically occur in large engineering
       and construction jobs. The provision is not, as some parties have speculated, due to
       aggressive revenue booking or errors in cost estimation and bidding by Halliburton.

                                                ***

       [t]he $60 million provision relates not to BRES’s performance, but to the mood of its
       clients.

Similarly, Paine Webber, reporting on the same February 9, 1998 presentation, wrote,

       . . . HAL has adjusted to the change in customer philosophy by requiring assurances
       of payment for changes in work scope ‘along the way’ instead of at the end of the
       project, which was the typical practice because it expedited project execution. We
       believe this . . . explains management confidence in downstream margins going
       forward.

       37.    At the same time they were creating the misperception that revenues were greater than

compliance with internal policies would permit, Defendants were trumpeting the recently executed

Barracuda agreement, The periodical Offshore featured Lesar, Halliburton’s new Chairman and

CEO, in its September 1, 2000 issue. Among other things, the article included the following

dialogue:

       Offshore:       What recent project would you say best defines the Halliburton of the
                       future?
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       Lesar:           I think the Barracuda/Caratinga project . . . is a potential model
                        demonstrating the capabilities of the entire Halliburton Group. . . .
                        Halliburton offered the best price and shortest time to first oil. More
                        customers around the world are looking for this type of turnkey
                        solution, and Halliburton is positioned to provide these services. . . .

                        The direction now seems to be toward a fixed price for projects. . . .
                        Halliburton has the advantage here. . . .

The Barracuda/Caratinga project was a fixed price contract executed by Halliburton on June 5, 2000,

requiring the Company to develop the Barracuda and Caratinga oil fields in deep water Brazil for

Petrobas in exchange for a lump sum payment of $2.5 billion. Although originally heralded as the

wave of the future, the Barracuda/Caratinga project was actually beset by cost overruns and change

orders, resulting in enormous losses to Halliburton.

       38.       Shortly after publication of the edition of Offshore containing these comments by

Lesar, Halliburton stock rose to $55.18 per share on September 6, 2000.

       39.       Naturally, this stock price would tumble as soon as the unflattering truth about

Halliburton’s business became public knowledge. Mindful of this, during the Summer of 2000

Halliburton insiders unloaded over 1 million shares of company stock on unsuspecting investors.

Specifically, it was during this time period that Dick Cheney, the Halliburton CEO who preceded

Defendant Lesar before successfully running for Vice President of the United States, sold 760,000

shares for $40 million – over 80% of his Halliburton stock holdings. Bradford, Halliburton’s

chairman, sold 137,375 shares for $7.1 million – over 32% of his Halliburton stock holdings.

Vaughn, Halliburton’s Vice Chairman, sold 150,500 shares for $7.6 million. To the extent these

sellers exercised options to acquire the stock they sold, those options were in no danger of expiring

any time soon.

       40.       Once Cheney departed Halliburton, Defendant Lesar assumed day-to-day operational
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command as Chairman/CEO. Lesar knew that several of the excesses and manipulations of the

Cheney era which had been engaged in to cover up the accumulating problems at Halliburton and to

thus boost Cheney’s image as a successful business executive had reached such proportions that they

could not be continued much longer. Lesar knew that Halliburton had recognized as revenue, i.e.,

profit, between $120-$150 million in Unapproved Claims which could never be collected, let alone

accurately estimated, and that, as a result, Halliburton had actually suffered losses on a number of

large fixed-price/lump-sum contracts, including Barracuda.

        41.      In early 10/00, Lesar met with Salomon Smith Barney analyst Kieburtz. On 10/6/00,

Salomon Smith Barney issued a report on Halliburton after Kieburtz met privately with Lesar. The

report stated:

               In a recent one-on-one meeting with Halliburton’s new CEO, Dave Lesar, we
        focused on what changes were envisioned for the company under the new
        management . . . .

                                             *   *    *

        Operating Priorities

                There have not been any significant management or organizational changes
        at Halliburton since the first quarter, however there may be some in the near future.
        Lesar believes the company may operate more efficiently with one less layer of
        management both from a cost perspective and from an accountability perspective . .
        ..

        Downstream Business

               The downstream businesses at Halliburton have not recovered as quickly as
        had been anticipated turning what had been an earnings positive during the oilfield
        downturn into a drag during this recovery cycle. More importantly, management is
        now asking whether the vaunted earnings stability that comes from the balance of
        upstream and downstream is rewarded in the stock market. Recent history suggests
        the answer is no . . . .

                Clearly no decisions have been made but the questions are being asked. Lesar
        did indicate several downstream business segments are key to Halliburton’s future
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           business, because of their linkage to the reservoir and the strength of their competitive
           position. . . . [T]here is greater uncertainty about the value to Halliburton of the
           construction activities at KBR . . . .

           Midstream Business

                     The Brown & Root Energy Services (BRES) division presents a more complex
           issue . . . . [T]he division has been a notable under-performer . . . . [S]ome longer term
           strategic questions remain for this segment.

Thus, Lesar was raising serious questions as to the viability of two of the most important parts of

Halliburton’s business, especially Brown & Root Energy Services (“BRES”), which was the major

unit of ES that was supposedly performing so wonderfully and beyond expectations just a few weeks

earlier when Cheney left the Company. Due to the “leak” of this information to Salomon Smith

Barney (and to a few other favored analysts), there was increased selling pressure on Halliburton’s

stock, causing Halliburton’s stock price to decline from a high of $51 per share in early 10/00 to as

low as $40.50 on 10/23/00, a 20% decline.

           42.     On October 24, 2000, Halliburton issued a press release announcing its financial

results for the third quarter of 2000, the period ended September 30, 2000. According to the release,

Halliburton reported net earnings of $157 million, or $0.35 per diluted share and revenues of $3

billion.

           43.     In a conference call after the earnings release, Lesar surprised most analysts and

many in the investment community by revealing that, due to serious operational problems,

management inefficiencies, and excessive costs in its construction operations, Halliburton’s

construction business (which had been previously represented to have been successfully restructured

and into which Dresser’s construction operations (Kellog) had supposedly been successfully

integrated) had to be massively restructured. Lesar said that Halliburton’s supposedly successfully

restructured/integrated construction businesses had to pursue a “new strategy” to “cut costs and
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strengthen that business.” Halliburton had to “recombine” all of its “engineering and construction

businesses.” Lesar also told analysts that due to these problems, Halliburton’s 00 and 01 net income

and EPS would be adversely impacted and indicated that Halliburton would have to take write-

offs/charge-offs as part of this restructuring of the largest and most important part of Halliburton’s

business. However, Salomon Smith Barney analyst Kieburtz was not surprised. In a report he issued

after the 10/24/00 conference call he stated: “This confirms the message we heard from management

several weeks ago during our company visit.”

        44.    Further, there was no revelation from the Company regarding the massive asbestos

liability.

        45.    Despite the early 10/00 leakage of part of the negative information disclosed

on10/24/00, many analysts and investors were caught flat-footed by the 10/24/00 revelations, as

Halliburton had repeatedly assured investors that its construction operations had been successfully

restructured, that Dresser’s construction operations had been successfully integrated into Halliburton’s

construction businesses and, though Halliburton’s construction businesses had been hurt in the recent

past due to weak oil prices and low capital spending by oil explorers/producers, that those businesses

were well-organized, well-managed and poised for successful, profitable growth in light of more

recent oil price hikes and renewed capital spending, telling analysts to raise their 00 and 01 EPS

forecasts for Halliburton. The comments in the securities analyst reports written after 10/25/00 set

forth below show the dramatic negative impact of the revelations of the 10/24/00 conference call:

        CIBC World Markets (10/25/00):

        •      The shock in the conference call was management’s statement that, given the
               outlook for customer spending in the shallow water marine construction
               market and the downstream E&C business, it is not sure that Halliburton has
               the critical mass to generate consistent and predictable profitability and profit
               growth from these sectors . . . . Therefore, it will look to a significant
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           restructuring of these businesses with an eye to achieving this goal during
           2001.

                                          *   *    *

    •      Management also addressed Halliburton’s potential exposure to asbestos
           claims. They stated that in their 3Q00 10-Q filing they will update their prior
           disclosure. The update will reflect nominal changes to their financial
           exposure. They believe this is an issue that is not growing for them, in
           contrast to other companies.

    Dain Rauscher Wessels (10/25/00):

          The big surprise of the conference call was the announced resructuring of the
    Engineering and Construction (ECG).

                                          *   *    *

            Recently, there have been increased concerns about Halliburton’s exposure to
    asbestos liabilities related to construction projects by KBR and Dresser Industries . .
    . . While management admits the size of the settlements has increased, they do not
    believe it will have any adverse material impact. However, given the recent massive
    settlement associated with asbestos litigation, we believe investor’s concerns
    regarding these liabilities could hamper the stock’s performance until the outcome
    becomes more clear.

                                          *   *    *

    The company announced that it is restructuring the E&C business in an effort to
    minimize costs in the near-term . . . . It is unclear whether the company can
    successfully reorganize its E&C business, particularly given the difficulty it has
    experienced since the Dresser acquisition.

    Southwest Securities (10/25/00):

    We are downgrading shares of Halliburton Company . . . due to the following . . .:

    •      On the earnings conference call on October 24, 2000, the company indicated
           its intention to restructure part of its engineering and construction business
           (BRES, KBR, and BRS) . . . .

                                          *   *    *

    •      This led to a 2001 EPS estimate reduction from $1.57 to $1.27.
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    •       Planned Restructuring of Engineering and Construction Business: . . .
            Halliburton has decided to restructure its various engineering and construction
            companies. The planned restructuring also considers the divestiture of some
            segments without recovery visibility . . . .

            Halliburton also cited its bearish outlook for E&C group next year. Based on
    this revised outlook, we have reduced our 2001 revenue and operating margin
    projections for the E&C group from $5.2 billion and 5.5% to $3.0 billion and 3%.
    This led to a 2001 EPS estimate reduction from $1.57 to $1.27.

    Morgan Stanley (10/25/00):

           The real story at Halliburton is not the company’s current or near-term
    earnings profile, but rather, the significant restructuring of its three major Engineering
    & Construction (E&C) businesses that is now underway. In summary, senior
    management, as headed by new CEO Dave Lesar, is in the process of completing a
    comprehensive strategic assessment of the company’s entire E&C business segment.

                                           *    *    *

    Earnings Outlook Remains Uncertain

            The profit contribution from the company’s three E&C segments will likely
    decline meaningfully in 2001 versus 2000, considerably more than we have previously
    forecast[]. This is especially troubling . . . .

                                           *    *    *

    In such a scenario, the company would probably earn roughly $1.50/share, versus
    our prior outlook of $1.86/share.

    Paine Webber (10/25/00):

    •       The diminishing performance of the E&C businesses leads us to sharply
            curtail our earnings expectations for these businesses in 4Q:00 and 2001.

    •       More importantly, HAL management is undertaking an aggressive
            restructuring of its E&C businesses by recombining Brown & Root Energy
            Services with Kellog Brown & Root and Brown & Root Services in an attempt
            to reduce costs and perhaps improve the long-term competitiveness of this
            business.

                                           *    *    *

    E&C OPERATIONS WEAKENING
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                BRES is struggling to make money with any consistency and it now appears
       that the segment will only breakeven in the fourth quarter. Management indicates that
       BRES will also be no better than breakeven for 2001, which is well below our
       previous forecast.

               While KBR reported higher operating earnings in the quarter than we had
       forecast, the outlook is nearly as bleak for this division as it is for BRES . . . . KBR
       is not building backlog and replacing its revenue, therefore the visibility of earnings
       is diminishing.

       CUTTING ESTIMATES FOR 4Q:00 AND 2001

               The company’s earnings outlook is diminishing. This is particularly
       disappointing since the earnings outlook at nearly all of its peers is improving at this
       point in time in the cycle. We are reducing our 4Q:00 EPS estimate to $0.20 from
       $0.22 and our 2001 estimate drops more sharply to $1.06 from $1.31.

       46.     Halliburton’s stock price declined sharply during the first three weeks of 10/00 due

to the leakage of some of the adverse information more fully revealed on 10/24/00 regarding the

serious problems within and losses of Halliburton’s construction operations, causing a major sell-off

in Halliburton stock, which collapsed from a high of $42.68 on 10/24/00 before the revelations, to

a low of $34.18 on 10/25/00 after, in reaction to these partial revelations of previously undisclosed

and concealed information, on 25.3 million share volume – a huge amount of volume and well beyond

Halliburton’s average trading volume of 2-3 million shares per day – the largest single day stock

volume in Halliburton’s history as a public company up until this point in time! However,

Halliburton’s stock continued to trade at artificially inflated levels due to continuing manipulations

and concealments and falsification of Halliburton’s financial statements, as detailed herein.

       47.     On November 9, 2000, Halliburton filed a Form 10-Q with the SEC for the third

quarter of 2000, the period ended September 30, 2000, which confirmed the previously announced

financial results. In addition, the Form 10-Q represented that the financial statements contained

therein were prepared consistently with GAAP requirements for interim financial reports and that the
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filing presented Halliburton's finances fairly, stating the following in note 1 to the quarterly financial

statement, titled "Management Representations:"

        The accompanying unaudited condensed consolidated financial statements were
        prepared using generally accepted accounting principles for interim financial
        information and the instructions to form 10-Q and applicable rules of Regulation S-X.
        Accordingly, these financial statements do not include all information and footnotes
        required by generally accepted accounting principles for complete financial statements
        and should be read in conjunction with our 1999 Annual Report on Form 10-K. Prior
        year amounts have been reclassified to conform to the current year presentation.

        In our opinion, the condensed consolidated financial statements present fairly our
        financial position as of September 30, 2000, and the results of our operations for the
        three and nine months ended September 30, 2000, and our cash flows for the nine
        months then ended.

        48.     The November 9, 2000 10-Q addressed Halliburton’s financial disclosure of asbestos

suits and claims. With regard to Halliburton’s financial risk and exposure resulting from asbestos

litigation and claims, the third quarter 2000 10-Q reported an accrued liability of just $26 million, an

increase of just $2 million from the prior quarter, and again represented: “[W]e believe that the

pending asbestos claims will be resolved without material effect on our financial position or results

of operations.” This representation, along with the Company’s assurance that the “consolidated

financial statements present fairly our financial position as of September 30, 2000,” was especially

significant since other companies with asbestos liability exposure had recently encountered adverse

developments, including higher settlements and charges. Since Halliburton’s important construction

businesses were having problems, it was very important to convince analysts that Halliburton was not

going to have major problems with its asbestos liabilities.

        49.     Analysts were very reassured by the representations in Halliburton’s third quarter

2000 10-Q regarding the Company’s financial exposure to asbestos suits and claims. For instance,

on 11/13/00, Jefferies & Company issued a report on Halliburton which stated:
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       HAL Files Third Quarter 10-Q; Asbestos Liabilities Remain in Check

              We remain our Buy rating on Halliburton Company . . . . Halliburton
       Company filed the Company’s third quarter 2000 10-Q last week. This is the first
       opportunity that investors will have to review the updated disclosure on the
       Company’s asbestos liabilities . . . . [W]e still believe that Asbestos Liabilities are not
       a material issue for the Company . . . .

       From Halliburton’s third quarter 10-Q and updated disclosure, we can establish the
       following points on this Company’s current Asbestos liabilities.

                                               *   *    *

       •       Halliburton’s total accrued liability for asbestos increased by $7 million in the
               third quarter to $82 million, and the Company’s asbestos liability net of
               estimated insurance recoveries increased by $2 million in the third quarter to
               $26 million. Halliburton has accrued for all future anticipated payouts related
               to asbestos liabilities to date.

       50.     On 12/21/2000, Halliburton confirmed that operational difficulties, inefficiencies,

excessive costs, and cost overruns in its construction operations would require write-offs to recognize

previously undisclosed losses on major fixed-price construction contracts. According to an article

in the 12/22/00 Houston Chronicle:

               Halliburton Co. will split into two business units . . . .

              Halliburton . . . said the restructuring will result in a $120 million after-tax
       charge in the fourth quarter.

               About $25 million of the charge will be related to the cost of eliminating a
       number of senior management positions plus the cost of leaving several facilities no
       longer required. The remaining charges will be related primarily to cost overruns on
       specific matters, the company said.

                                               *   *    *

              Problems afflicting the engineering and construction business include a
       shrinking customer base, difficult relationships with certain customers and a fiercely
       competitive environment in which some companies are struggling to survive, the
       company said.

                                               *   *    *
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                “While claims will be made for a large portion of the additional costs,
       management does not believe that all the claims will be recovered,” the company said
       in a statement. “In addition, negotiations with customers regarding cost increases on
       seven other projects have not resulted in resolution of certain claims as originally
       anticipated.”

       51.       According to a 12/21/00 report by Salomon Smith Barney:

       The charges are surprisingly large. Included in the $120 million after tax charge is
       $25 million for severance and facilities closure. The remainder is project related,
       related to cost overruns on two large projects and disputes on seven other projects that
       have not been settled. This amount is roughly equivalent to the full-year 2000
       operating profit from the two segments.

       52.       According to a 12/22/00 report by CIBC World Markets:

       [W]e were surprised by management’s earnings warning on the 3Q conference call.
       There were concerns that HAL might not have the critical mass to generate consistent
       and predictable profitability in the E&C business. Labor disturbances in Venezuela
       and West Africa caused significant costs to be incurred on several large fixed-fee
       E&C contracts. HAL has submitted claims on these costs to clients, but HAL does
       not believe that all costs will be recovered. Additionally, relationships with some
       customers have deteriorated and the cost increase claims on seven other projects have
       not resolved as expected.

       53.       Once the partial disclosures of 10/00 had occurred and now that Cheney was gone and

Lesar was in charge of the Company and some of the excesses and financial manipulations of the

Cheney era had been disclosed, Lesar, Morris, and Muchmore needed to find a way to boost

Halliburton’s stock price to demonstrate their own managerial success and also to restore the value

of the stock options they held, which had been sharply reduced by the 10/00 decline in Halliburton’s

stock price upon the partial disclosure of the problems with and losses in Halliburton’s construction

business detailed herein.2 So, beginning in 1/01, through a series of positive statements, they drove

        2
            During 98 and 99, Lesar, Morris, and Muchmore had been awarded the following options:

        Name                    Year                   Options Granted                 Exercise Price
                                                                                       ($/share)
        Lesar                   1998                   65,000                          $28.13
                                1999                   260,100                         $39.50
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the price of Halliburton stock back up, to as high as $49.20 by 5/21/01.

       54.       On January 30, 2001, Halliburton issued a press release announcing its financial

results for the fourth quarter and year ended December 31, 2000. Halliburton reported net income

of $123 million, or $0.28 per diluted share. Revenues for the quarter were $3.2 billion, a 6% increase

over the 1999 fourth quarter. For the year ended December 31, 2000, Halliburton reported revenues

of $7.9 billion and net income of $501 million. In the fourth quarter 2000 results, Halliburton

increased the $120 million loss charge announced on 12/21/00 by $73 million to $193 million with

$157 million being attributed to project losses. As a result, Halliburton suffered a fourth quarter loss

of $21 million. The release also stated:

       Dave Lesar, Halliburton’s chairman of the board, president and chief executive
       officer, said, “. . . As previously announced, we have begun taking action to realign
       our engineering and constructions businesses under a single management team. This
       new team is committed to building a profitable engineering and construction business
       that can operate in today’s global environment.

                                              *    *   *

       The fourth quarter pre-tax charge relating to the engineering and construction
       businesses was $193 million, with $36 million related to severance and restructuring
       and $157 million for project losses. . . . As a result of these charges, continuing
       operations posted a net loss of $21 million ($0.05 per diluted shares).

       55.     On 1/31/01, Saloman Smith Barney issued a report on Halliburton written by

Kieburtz, based on a 1/30/01 Halliburton conference call and follow-up conversations with Lesar or

Morris. The report stated:

       [Results] include the effect of $193 million of pretax charges ($118 million after tax)
       taken to restructure the EC segment. The essence of the restructuring has been to
       recombine the E&C activities of BRES, KBR and BRS under the management team.


        Morris                  1998                    25,000                          $28.13
                                1999                    45,000                          $39.50
        Muchmore                1998                    6,900                           $28.13
                                1999                    10,500                          $39.50
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          The charges include $36 million for severance and related expenses, and $157 million
          of accruals for cost overruns on several lump sum projects . . . . The BRES division
          (currently part of ES) accounts for $59 million of the charges and the EC segment
          accounts for the remaining $134 million . . . .

                  Detailed earnings guidance for 2001 was provided on the conference call.
          Particularly notable was the confidence that operating profit for the Halliburton
          Energy Services (HES) division (the largest part of ES) would double from the 2000
          level. This is somewhat more robust growth than we had been projecting.

          56.     On 1/31/01, Jefferies & Co. issued a report on Halliburton written by Kellstrom,

based on the 1/30/01 conference call and follow-up conversations with Lesar or Morris. The report

stated:

                  In the fourth quarter, HAL began to aggressively restructure its E&C
          operations which involved combining all of the Engineering and Construction
          activities into one division under the Kellogg Brown & Root (KBR) operations . . . .
          The Company has made a significant amount of progress executing this program and
          is confident that the initiative will be completed by the end of the first quarter of 2001.
          The new management team put into place in this segment has been working hard to
          achieve HAL’s objective for the group to create an enterprise which produces
          predictable and consistent earnings with sustainable growth going forward.

                                                  *   *    *

                  Revenues for Brown & Root Energy Services increased 16% sequentially. The
          increased sales were driven by timing on select EPC contracts such as the Barracuda
          Caratinga and to improving activity in the subsea segment. . . . In the deepwater
          segment, BRES contined to pick up its momentum on the Barracuda and Caratinga
          projects. HAL expects this contract to contribute significantly to results in 2001.

                                                  *   *    *

                 Asbestos liability still a minor concern. . . . [M]anagement reiterated that the
          prospective asbestos liabilities had not changed materially from the third quarter and
          should have minimal adverse impact on the company going forward.

          57.     On March 27, 2001, Halliburton filed its Form 10-K with the SEC for the year ended

December 31, 2000, which confirmed the previously announced financial results. The Form 10-K

represented that Halliburton employed accounting principles in accordance with GAAP and had
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prepared its financial statements in accordance with GAAP. Halliburton's revenue recognition policy

was described in the same format as the previous year's Form 10-K. The 2000 Form 10-K stated as

follows:

       Revenues and income recognition. We recognize revenues as services are rendered or
       products are shipped. The distinction between services and product sales is based
       upon the overall activity of the particular business operation. Revenues from
       engineering and construction contracts are reported on the percentage of completion
       method of accounting using measurements of progress towards completion
       appropriate for the work performed. All known or anticipated losses on contracts are
       provided for currently. Claims and change orders which are in the process of being
       negotiated with customers, for extra work or changes in the scope of the work are
       included in revenue when collection is deemed probable.

The "Receivables" section of the 2000 Form 10-K stated that claims and change orders included in

unbilled receivables amounted to $113 million and $98 million at December 31, 2000 and 1999

respectively and were generally expected to be collected in the following year.

       58.     In early April of 2001, Halliburton issued its 2000 Annual Report to Shareholders.

The 2000 Annual Report contained a letter from Lesar, the new Halliburton Chairman/CEO. It stated:

       Halliburton initiated significant changes during 2000 as we restructured the company
       to profit from growing opportunities in the worldwide energy industry.

                                            *    *   *

       [I]n order to make our E&C organization flatter and simpler, I combined all our
       engineering and construction operations into one company.

                                            *    *   *

       [W]e’ve proven our ability to compete by winning the engineering, procurement and
       construction (EPC) contract for the $2.5 billion Barracuda/Caratinga offshore project
       in Brazil.

       59.     The 00 Halliburton Annual Report also stated:

       By far the biggest and most important deepwater development in the world today is
       the $2.5 billion Petrobas Barracuda/Caratinga project in offshore Brazil. This EPIC
       contract is believed to be the largest ever awarded to a single contractor. . . .
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              Halliburton is lending its project management and project finance expertise as
       the EPIC contractor . . . .

                                              *    *    *

               Barracuda/Caratinga . . . serves as a demonstration of Halliburton’s end-to-end
       project management and execution capability in deep water.

       60.     Elsewhere, Halliburton’s 00 Annual Report stated:

       KBR has built, either alone or in joint ventures, the majority of the world’s LNG
       complexes. It is currently working on large scale projects at Bonny Island, Nigeria .
       . . . In this area, KBR’s breadth of experience and roster of specialists put it in an
       excellent position to continue capturing a major share of future LNG engineering and
       construction business.

       61.     Halliburton’s 00 Annual Report contained a section entitled “Responsibility for

Financial Reporting” which was signed by Lesar and Morris and stated:

       We are responsible for the preparation and integrity of our published financial
       statements. The financial statements have been prepared in accordance with
       accounting principles generally accepted in the United States and, accordingly, include
       amounts based on judgments and estimates by our management. We also prepared the
       other information included in the annual report and are responsible for its accuracy
       and consistency with the financial statements.

                                              *    *    *

       We maintain a system of internal control over financial reporting, which is intended
       to provide reasonable assurance to our management and Board of Directors regarding
       the reliability of our financial statements. The system includes:

       •       a documented organizational structure and division of responsibility;

       •       established policies and procedures, including a code of conduct to foster a
               strong ethical climate which is communicated throughout the company; and

       •       the careful selection, training and development of our people.

               Internal auditors monitor the operation of the internal control system and
       report findings and recommendations to management and the Board of Directors.
       Corrective actions are taken to address control deficiencies . . . as they are identified.

                                              *    *    *
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       We have assessed our internal control system in relation to criteria for effective
       internal control over financial reporting described in “Internal Control-Integrated
       Framework” issued by the Committee of Sponsoring Organizations of the Treadway
       Commission. Based upon that assessment, we believe that, as of December 31, 2000,
       our system of internal control over financial reporting met those criteria.

       62.     With respect to Halliburton’s financial exposure to asbestos claims and suits, the 2000

Annual Report disclosed an accrued liability of just $29 million, up only $4 million from $25 million

at year-end 99 and up just $3 million from 9/30/00, and stated:

       [W]e believe that the pending asbestos claims will be resolved without material effect
       on our financial position or results of operations.

       63.     On April 25, 2001, Halliburton reported very strong first quarter 2001 results:

       Halliburton Company First Quarter Earnings Increase 219 Percent – Energy
       Services Group Operating Income Quadruples

       Halliburton . . . reported today that 2001 first quarter net income was $109 million
       ($0.25 per diluted share). Net income from continuing operations was $86 million,
       an increase of 219 percent over the prior year quarter.

       Operating income of $198 million for the quarter represents an increase of 144 percent
       compared to the 2000 first quarter operating income of $81 million . . . .

       Dave Lesar, Halliburton’s chairman of the board, president and chief executive
       officer, said “We had an outstanding quarter. The Energy Services Group continues
       to provide both earnings and revenue growth, and we are encouraged with the progress
       resulting from the restructuring of our engineering and construction business . . . .”

       2001 First Quarter Segment Results

                                             *    *   *

       Operating income for the Energy Services Group segment was $200 million, which
       improved over 300 percent from the first quarter 2000. Operating margins were 9.8
       percent compared to 3.4 percent a year earlier . . . . The segment also benefitted from
       . . . the ramp up of the Barracuda-Caratinga deepwater project in Brazil.

                                             *    *   *

       Addressing the company’s results, Dave Lesar said, “We are also encouraged by the
       improved profitability of our other product service lines within the Energy Services
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       Group as well as the increased profitability we are beginning to see in some
       international areas.

According to Halliburton, net earnings of $86 million, or $0.25 per diluted share, for the quarter were

driven by revenues of $3.1 billion, a 10% year-over-year increase.

       64.     On April 25, 2001, Halliburton held a conference call for analysts, money managers

and Halliburton stockholders. During this call, Lesar stated:

       Lesar: We have just come through with what I think is a very good, strong first
              quarter for Halliburton . . . . I am very pleased to report to you today that our
              earnings for the first quarter were $0.25 per share. . . . Our first quarter results
              from the Energy Services Group reflects this very positive environment . . . .
              Halliburton Energy Services, we saw a 21% year over year increase in
              revenues from outside North America and a 29% incremental margin and was
              [sic] increased international revenues. . . . A few highlights from the ESG for
              the quarter include a 43% year over year growth in revenues for the group,
              operating income, which quadrupled year over year for the Energy Services
              Group, the highest we have seen since the merger with Dresser.

       65.     On April 25, 2001, Salomon Smith Barney issued a report on Halliburton written by

Kieburtz, based on the 4/25/01 Halliburton conference call and follow-up conversations with Lesar

or Morris. The report stated:

       [M]anagement gave significantly stronger guidance for the remainder of the year
       based on improved visibility on international demand and pricing. The greatest
       visibility is in Latin America where contracts are in place . . . .

       We are raising our estimates to reflect the greater visibility . . . .

       66.     On April 26, 2001, Morgan Stanley issued a report on Halliburton written by Slorer,

based on the April 25, 2001 Halliburton conference call and follow-up conversations with Lesar or

Morris. The report stated:

       •       We believe Halliburton has “turned the corner.” . . .

       •       Increasing EPS estimates for 2001 and 2002

                                               *    *    *
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       Following yesterday’s earnings conference call, we have increased confidence that
       Halliburton (HAL) has turned the corner. Based on what we heard on the call, we
       have increased our 2001 EPS estimate from $1.23 to $1.33 and have also boosted our
       2002 EPS estimate from $1.92 to $2.17.

       67.     On April 26, 2001, CIBC World Markets issued a report on Halliburton, written by

Brooks, based on the April 25, 2001 Halliburton conference call and follow-up conversations with

Lesar or Morris. The report stated:

       •       Business trends and outlook comments by management support our thesis of
               a recovery of international activity becoming the principal driver of HAL’s
               earnings in 2H01 and thereafter . . . .

       •       HES’ international component had 29% incremental margins on a 21%
               revenue gain. It is this performance that gives management its confidence
               about strong 2H01 results.

       •       HAL guided 2Q01 EPS estimates to $0.30-$0.32 and full-year 2001 estimates
               to $1.30+.

       •       Results in 2Q01 will be driven by the impact of . . . the ramp up in business
               in Brazil.

       68.     On May 11, 2001, Halliburton filed its Form 10-Q with the SEC for the first quarter

of 2001, the period ended March 31, 2001, which confirmed the previously announced financial

results. In addition, the Form 10-Q represented that the financial statements contained therein were

prepared consistently with GAAP requirements for interim financial reports and that the filing

presented Halliburton's finances fairly, stating the following in note 1 to the quarterly financial

statement, titled "Management Representations:"

       The accompanying unaudited condensed consolidated financial statements were
       prepared using generally accepted accounting principles for interim financial
       information and the instructions to form 10-Q and applicable rules of Regulation S-X.
       Accordingly, these financial statements do not include all information and footnotes
       required by generally accepted accounting principles for complete financial statements
       and should be read in conjunction with our 2000 Annual Report on Form 10-K. Prior
       year amounts have been reclassified to conform to the current year presentation.
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       In our opinion, the condensed consolidated financial statements present fairly our
       financial position as of March l, 2001, the results of our operations for the three
       months ended March 31,2001, and our cash flows for the three months then ended.

Addressing Halliburton’s financial exposure to asbestos suits and claims, the first quarter 01 10-Q

reported an accrued liability of $30 million – just a $5 million increase over the prior year and a $1

million increase over the year-end 00 level, and again assured

       that the open asbestos claims asserted against us will be resolved without a material
       adverse effect on our financial position or results of operations.

       69.     On April 25, 2001, Robinson-Humphrey issued a report on Halliburton written by

Escott, which was based on conversations with Lesar or Morris:

       Well-Positioned Late Cycle Play

                                              *    *   *

       •       With nearly 70% of revenues generated overseas, we believe the company has
               significant earnings leverage resulting from the recent increase in international
               activity while we expect continued strong results from North American natural
               gas related pressure pumping activity.

       •       We forecast significant improvement on Engineering & Construction project
               later this year, as the demand for these later cycle services picks up and
               benefits of the segment’s restructuring begin to pay off.

       •       Following our March quarter conference call, management significantly raised
               EPS guidance from the $1.20 consensus estimate to $1.30 plus.

       70.     Halliburton’s positive 2000 Annual Report and its very strong first quarter 01 results

and conference call had a very positive impact on Halliburton’s stock, which rallied from a low of

$33.50 in early April of 2001 to a high of $42.13 on April 26, 2001 following the release of

Halliburton’s first quarter 2001 results and to $49.25 on May 21, 2001. As Halliburton’s stock soared

higher from its lows after the partial revelations of October 2000, Halliburton’s insiders resumed their

insider trading, selling off 113,823 shares between April 3, 2001 and May 21, 2001 at as high as
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$48.79 per share, pocketing an additional $4.6 million in illegal insider trading proceeds.

       71.     On June 28, 2001, Halliburton, for the first time, disclosed that a former Dresser

subsidiary had asked for asbestos claims management and financial assistance from Halliburton.

Halliburton stated:

       Halliburton Company today announced that Harbison-Walker Refractories Company
       (“Harbison”), formerly owned by a Halliburton subsidiary, Dresser Industries, Inc.
       (“Dresser”), has requested that Dresser provide Harbison with claims management and
       financial assistance for asbestos claims Harbison assumed when it was spun-off from
       Dresser in 1992.

       Many of these Harbison claims are asserted in lawsuits that also name Dresser as a
       defendant and Harbison is, in effect, co-insured with Dresser under a substantial
       insurance program that covers these claims and other asbestos claims against Dresser.
       Consequently, Dresser has a substantial interest in their resolution and the most
       effective use of this insurance.

               In discussions with analysts, Halliburton’s insiders downplayed the significance of this

announcement, insisting that Halliburton’s potential asbestos liabilities remained insignificant and

did not pose a material risk to Halliburton and indicated that in a “worst case scenario” this could

increase Halliburton’s accrued liability for asbestos suits/claims to $60 million.

       72.     Analysts continued to believe Halliburton’s assurances. For instance:

       Salomon Smith Barney (6/29/01)

       •       Halliburton estimates that the maximum potential liability, net of insurance,
               that could arise out of HW is $60 million.

       •       We do not believe that Halliburton’s asbestos exposure, including HW,
               presents a material risk . . . .

       Opinion

       Halliburton recently announced that one of its former subsidiaries, Harbison-Walker
       Refractories Company (HW), has requested that Dresser Industries (a subsidiary of
       Halliburton since the merger) provide it with claims management and financial
       assistance for asbestos claims that it assumed liability for when it was spun-off from
       Dresser in 1992. . . .
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       Halliburton estimate that the maximum potential liability, net of insurance, that could
       arise out of HW is $60 million.

       Deutsche Banc (6/29/01)

       Halliburton Increases Asbestos Reserve. Reiterate Buy, but Renewed Concerns Could
       Impact Valuation

                                              *    *   *

       HAL announced yesterday that it is considering accruing an additional $50 to $60
       million after-tax to cover some asbestos liabilities of a company that had been spun
       off from one of its predecessor companies in 1992. . . .

       While insignificant by itself, it does remind people of HAL’s asbestos liabilities . . .
       .

       Morgan Stanley (6/29/01)

       •       HAL MAY SET UP A RESERVE OF $50-$60 MM RELATES TO THE
               HARBISON CLAIMS. We believe that this would be a “rainy day” reserve
               for a worst case scenario, presumably involving insolvency on the part of
               Harbison.

       •       WE CONTINUE TO BELIEVE ASBESTOS IS A VIRTUAL NON-ISSUE
               FOR HAL.

                                              *    *   *

       Should it agree to render assistance to Harbison, HAL currently believes it would set
       up an after-tax reserve of $50 tp $60 million . . . . We believe such a reserve could be
       characterized as a “rainy day fund” to cover a worst case scenario, which, in our
       opinion, would include insolvency on the part of Harbison.

       We continue to believe that asbestos liability is a virtual non-issue for Halliburton .
       . . . [W]e do not currently believe it constitutes a significant risk to Halliburton’s
       financial position or future results.

       73.     Following Halliburton’s partial disclosure of 6/18/01, Halliburton’s stock declined

from $40.52 on 6/27/01 to $36.11 on 7/2/01, then to $34.30 on 7/6/01, then down to $31.50 on

7/18/01. However, because Halliburton did not make full, complete, and truthful disclosure regarding

its asbestos litigation and continued to falsify its financial results, Halliburton’s stock continued to
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trade at artificially inflated levels thereafter.

        74.      On July 25, 2001, Halliburton issued a press release headlined "Halliburton Second

Quarter [2001] Revenues and Earnings Continue to Soar." According to the release, net income from

continuing operations for the second quarter of 2001, ended June 30, 2001, was $143 million, or

$0.33 per diluted share, an increase of 175% over the first quarter. Also impressive was Halliburton's

reported revenues of $3.3 billion, a 16% year over-year increase. The release attributed Halliburton’s

“strong growth” to “continued strong performance in the Energy Serviced Group.” Lesar had the

following to say regarding the results: “This was an excellent quarter for Halliburton. The Energy

Services Group benefitted from high levels of activity . . . . We are particularly pleased with

increasing revenues and earnings internationally.”

        75.      On the same day it announced its second quarter 2001 financial performance,

Halliburton held a conference call for analysis and money managers, conducted by Lesar and Morris:

        Lesar:           Halliburton has just completed another strong quarter, . . . let me give
                         you the headlines first. . . . [W]e had sequential revenue growth at
                         Halliburton Energy Services of 12% and year-over-year revenue
                         growth of 40%. Halliburton Energy Services’ operating income
                         increased 38% sequentially and 172% year-over-year.                  Our
                         incremental margins were 39% sequentially and 34% year-over-year
                         at Halliburton Energy Services. The continuing strong U.S.
                         performance at HES is really now being complimented even more by
                         the growth in international revenue and operating margins. . . . [T]his
                         all resulted in Halliburton’s Energy Services’ operating margins
                         exceeding 15% for the quarter, up 8% from a year ago and 12% in the
                         first quarter of 2001. So, we continue to see constant and steady build
                         in operating margins. In July we expect to have the first $100 million
                         operating income month in the history of Halliburton Energy Services
                         and, as I’ll indicate later, we remain very bullish on the balance of the
                         year . . . . As we’ve previously reported in a press release on June 28,
                         in a response to a request from Harbison-Walker for assistance to fund
                         settlements of asbestos claims that Harbison had assumed at the time
                         they were spun-off from Dresser Industries, we went in and took a
                         look at the situation . . . . Based on our analysis of Harbison’s claims
                         at this point in time our concern that they may not be able to perform
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                       under their obligations, however, we thought it was prudent to accrue
                       $60 million after-tax against the gain on the discontinued operations
                       which, we believe, in our best judgment, is the potential exposure we
                       have for this asbestos litigation . . . . I want to say that I do believe
                       that the consensus estimated for the third quarter for Halliburton are
                       too low and I will be giving some upward guidance on the third quarter
                       at the end of this call . . . .

       Morris:         Looking first at the total company results – our revenue improved 16%
                       year-over-year and 6% sequentially . . . . Total operating income
                       increased $146 million or 116% year-over-year and increased $74
                       million, or 37% sequentially. Our diluted earnings per share were 89
                       cents . . . . Driving this improvement is the ramping up of the
                       Barracuda/Caratinga Project in Brazil . . . .

                                               *    *    *

       Lesar:          I think our business . . . offshore Brazil . . . in the deep water area is all
                       in pretty good shape. . . . Latin America, Brazil . . . are very strong for
                       us.

       76.      On July 26, 2001, CIBC World Markets issued a report on Halliburton written by

Brooks, which was based on the July 25, 2001 conference call and conversations with Lesar or

Morris:

       •        Upside EPS surprise followed by upside 3Q01 EPS guidance! Halliburton
                Company reported earnings from continuing operations of $0.33 vs last year’s
                $0.17. This was above the prior company guidance of $0.30-$0.32 and the
                consensus estimate. HAL guided 3Q01 EPS estimates to $0.42-$0.43, well
                above the consensus of $0.36 and equal to our 4Q01 EPS estimate. We are
                raising our 2001 EPS estimate to $1.41 from $1.33, dropping $0.05 in
                discontinued earnings in our prior estimate. Our above-consensus 2002 EPS
                estimate is unchanged at $2.00. We reiterate our Buy rating . . . .

       •        Strong results both here and abroad should boost management
                confidence during its conference call. Management discussed the revenue
                growth and incremental performance of its various business lines, both
                domestically and internationally. Bottom line: everything is beginning to click
                ....

       •        Management was downright bullish about the recovery in that division, which
                has been an area of focus, disappointment and restructuring for the past two
                years. It appears the long winter of management’s discontent may be ending.
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       77.     A July 26, 2001 report issued by UBS Warburg written by analyst Stone, based on a

conference call and prior meeting, reported that Halliburton indicated that it had the asbestos

"situation under control and that the financial impact should not be material to the financial health

of Halliburton"; it continued:

       These comments also came out in a private meeting that we had with H[alliburton]'s
       CEO several weeks ago. In that meeting, Mr. Lesar indicated that H[alliburton]
       maintains a significant amount of insurance that should cover the majority of any
       future claims or increases in settlement rates.

       78.      On August 9, 2001, Halliburton filed its Form 10-Q with the SEC for the second

quarter of 2001, the period ended June 30, 2001, which confirmed the previously announced financial

results. In addition, the Form 10-Q represented that the financial statements contained therein were

prepared consistently with GAAP requirements for interim financial reports and that the filing

presented Halliburton's finances fairly, stating the following in note 1 to the quarterly financial

statement, titled "Management Representations:"

       The accompanying unaudited condensed consolidated financial statements were
       prepared using generally accepted accounting principles for interim financial
       information and the instructions to form 10-Q and applicable rules of Regulation S-X.
       Accordingly, these financial statements do not include all information and footnotes
       required by generally accepted accounting principles for complete financial statements
       and should be read in conjunction with our 2000 Annual Report on Form 10-K. Prior
       year amounts have been reclassified to conform with the current presentation.

       In our opinion, the condensed consolidated financial statements present fairly our
       financial position as of June 30, 2001, and the results of our operations for the three
       and six months ended June 30, 2001, and our cash flows for the six months then
       ended.


       79.     In addition, with regard to asbestos liabilities, the Form 10-Q repeated that

Harbison-Walker had requested financial help on these claims, yet it included a net accrued liability

or reserve of only $124 million to cover these potential costs. The document also emphasized that
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“the known asbestos claims asserted against us will be resolved without a material adverse effect on

our financial position or results of operations.”

       80.     During July and August of 2001, Halliburton’s stock price plummeted thanks to

enhanced worries in the investment community about Halliburton’s potential asbestos litigation

liability. As a result, Lesar launched a public relations campaign to reassure investors and stem the

decline in the price of the stock.

       81.     On August 22, 2001, Saloman Smith Barney issued a comprehensive report on

Halliburton written by Kieburtz after he had extensive discussions with Lesar, Douglas L. Foshee

(“Foshee”), the Company’s Executive Vice President and Chief Financial Officer, or Robert C.

Muchmore (“Muchmore”), the Company’s Controller. The report stated:

       Asbestos liability concerns appear overblown.

       Based on our analysis of the available information concerning Halliburton’s asbestos
       exposure, concerns appear to be overblown.

                                              *     *   *

       Energy Services Group

       Halliburton Energy Services

                                              *     *   *

       [T]he large integrated projects (Barracuda/Caratinga and Terra Nova) are still part of
       ESG but are managed by KBR project managers.

                                              *     *   *

       The value of offering an integrated capability is illustrated by the recent
       Barracuda/Caratinga field development contract awarded to Halliburton by Petrobas
       for offshore construction work. At more than $2 billion, it is the largest contract
       Halliburton has ever won. Halliburton believes this will be the future model for
       marginal field development, with one or two such contracts awarded per year.

       82.     On September 4, 2001 the publication Platt's carried a story regarding a Lehman
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Brothers investment conference in New York during which Halliburton's CEO Lesar described the

asbestos claims as "manageable" and the CFO Foshee "told the conference that Halliburton's

insurance coverage should protect Halliburton against 90% of the claims against it."

        83.    Notwithstanding these rosy predictions, on September 12, 2001 a jury returned a $130

million verdict against Halliburton or its subsidiaries and co-Defendants in favor of five asbestos

plaintiffs.

        84.    Halliburton, however, continued to indicate the asbestos claims were “manageable”.

As an example, on October 4, 2001, Foshee spoke at a Deutsche Banc Alex. Brown seminar for

analysts and specifically discussed the asbestos situation, but did not disclose the recent huge verdict.

On October 5, 2001, Deutsce Banc Alex. Brown issued a report on Halliburton written by Sanger,

reporting on Foshee’s statements and rating the stock a “Strong Buy”:

        HAL’s new CFO, Doug Foshee, spoke on Thursday at the Deutsche Banc Alex.
        Brown Fall Energy Symposium and, while highlighting a number of issues, the
        presentation focused on better delineating and clarifying HAL’s asbestos liabilities.
        We believe that the market is significantly over-discounting this risk . . . . We
        therefore continue to rate HAL a Buy.

        85.     On October 23, 2001, Halliburton issued a press release, headlined "Halliburton Posts

Record Profits", announcing its financial results for the third quarter of 2001, the period ended

September 30, 2001. Net income from continuing operations was reportedly $181 million, or $0.42

per diluted share, a 39% year-over-year increase. Revenues of $3.4 billion rose by 12% from the

2000 third quarter. The release contained the following excerpts:

        “Both our business segments delivered outstanding results,” commented Dave Lesar,
        Halliburton’s chairman of the board, president and chief executive officer. “Our
        performance in the quarter highlights the earnings capacity of this dynamic
        organization . . . . [T]he longer-term fundamentals are strong. Our global presence
        and market leading products and services position us extremely well to perform under
        all market conditions.”
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      86.      On that same day, October 23, 2001 Halliburton held a conference call for analysts and

money managers, conducted by CEO Lesar and CFO Foshee:

      Lesar:          I am very pleased to report today that we met our commitment to you
                      and earned 42 cents per share, which is a record for the
                      Halliburton/Dresser combined organization. Highlights for the quarter
                      include, for the first time, ever, Halliburton Energy Services’ operating
                      income averaged over $100 million per month in the third quarter.
                      Our incremental margins were 74% sequentially and 40% year-over-
                      year for Halliburton Energy Services. In addition, HES’s operating
                      margins reached 17% for the quarter, up 2 percentage points from 15%
                      on a sequential basis and up from 9% in the year ago third quarter . .
                      ..

      Foshee:         I’m pleased to have such a great quarter to report as my first with
                      Halliburton. . . . With regard to asbestos, we’ve said consistently that
                      we take this issue very seriously but that we believe we’re adequately
                      reserved and adequately insured . . . . Halliburton Energy Services’
                      revenues . . . increased $129 million, year-over-year, in large part due
                      to the Barracuda/Caratinga project in Brazil, which was in start-up
                      mode during the third quarter of last year . . . . Operating income for
                      the segment increased 41% year-over-year to $321 million in 2001.

                                             *    *   *

      Question:       Can you talk about what kind of experience you’re having as you start
                      to go through the Harbison-Walker situation? Noted that claims were
                      down, can you give us a sense of, you know, where the settlements
                      stand right now and what’s happening with some of the other
                      settlements that were pending?

      Foshee:         There really is not any, anything new to report on Harbison-Walker
                      other than the fact that new claims, during the quarter naming Dresser
                      as a defendant, were only 1,300. Beyond that, we just don’t have
                      enough information yet to start to put detailed numbers together . . . on
                      things like the total settlement cost.

      Lesar:          But, I think it’s fair to say . . . that there have been no adverse
                      developments at all with respect to the Harbison-Walker situation . .
                      . . [O]ur settlement rate continues to be at historical levels . . . . And
                      . . . we keep getting paid by our insurers for those that we do not
                      settle. And I think those are three early positive data points that people
                      need to start putting into their thinking.
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       87.     Following this call, on October 24, 2001, several analysts released reports about

Halliburton:

       Morgan Stanley

       Third Quarter 2001 Earnings Summary

       •       Delivering on top of $0.39-$0.41 guidance

              HAL exceeded its own guidance from the 2Q01 conference call and matched
       consensus of $0.42.

                                            *    *   *

       Claims slowing down on the asbestos front

                We regard Halliburton’s asbestos exposure as more of a nuisance factor than
       a real risk to shareholder value.

       Jefferies & Company

       3Q01 Earnings Review

       Halliburton reported 3Q01 earnings of $0.42 per share, in line with expectations . . .
       .

       Update On Asbestos

              Net asbestos liability reserves now stand at $125 million. Management
       provided further assurances that current reserves are adequate to cover projected
       asbestos liabilities.

       CIBC World Markets

       •       Asbestos claims fear may be overblown. In the conference call, HAL
               management did an excellent job of laying out the latest information about the
               company’s asbestos claims exposure . . . . [T]he bottom line seems to be that
               HAL has minimal exposure . . . .

       88.     When asked about litigation developments, Halliburton indicated they were ofminimal

significance. Analysts again passed these sentiments along to the public. As an example, on

November 9, 2001, Kieburtz wrote a report for Salomon Smith Barney reading:
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    International Markets Yield Earnings Visibility

    •      Halliburton reported third quarter EPS of $0.42, versus $0.18 last year,
           matching our estimate and establishing a new quarterly record.

    •      The E&C backlog is rising, driven by the liquefied natural gas market; this
           yields visibility of multiyear growth. The Energy Services outlook is positive
           ....

                                          *   *    *

    Asbestos Development

                                          *   *    *

    In a change of procedure, Halliburton disclosed that a Mississippi jury had awarded
    $150 million in compensatory damages to six plaintiffs in an asbestos suit. . . .

    The release of this information by the company warrants a review and update of the
    information pertaining to the asbestos at Halliburton that we published in our August
    22 report on the company . . . . There is a risk that the company’s new effort to be
    more proactive with disclosure on the subject will be confused with a deteriorating
    situation.

                                          *   *    *

    Concerns on this second point were raised in August by the news, not disclosed by
    Halliburton, that an Orange County, Texas jury had awarded $65 million in
    compensatory and punitive damages to five plaintiffs. Legal advisors generally prefer
    to say less than more, and large jury awards had been made against the company in the
    past that were substantially set aside or substantially reduced. The decision to
    proactively release the information in the Mississippi case is partly case-specific and
    partly in reaction to the defensive posture forced on the company by disclosing the
    Orange County situation.

    At this juncture, we believe the evolving debate on disclosure policy, in part
    stimulated by new members of the management and communications team (rather
    than a fundamentally deteriorating situation on asbestos) is driving the changes in
    disclosure.

                                          *   *    *

    Our conclusion therefore, remains that the market has fully discounted a very
    conservative (i.e., large) estimation of asbestos liability in the stock price.
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        89.     On November 8, 2001, Halliburton filed a Form 10-Q with the SEC for the third

quarter of 2001, the period ended September 30, 2001, which confirmed previously announced

financial results. In addition, the Form 10-Q represented that the financial statements contained

therein were prepared consistently with GAAP requirements for interim financial reports and that the

filing presented Halliburton's finances fairly, stating the following in note 1 to the quarterly financial

statement, titled "Management Representations:"

        The accompanying unaudited condensed consolidated financial statements were
        prepared using generally accepted accounting principles for interim financial
        information and the instructions to form 10-Q and applicable rules of Regulation S-X.
        Accordingly, these financial statements do not include all information and footnotes
        required by generally accepted accounting principles for complete financial statements
        and should be read in conjunction with our 2000 Annual Report on Form 10-K. Prior
        year amounts have been reclassified to conform to the current year presentation.

        In our opinion, the condensed consolidated financial statements present fairly our
        financial position as of September 30, 2001, and the results of our operations for the
        three and nine months ended September 30, 2001 and our cash flows for the nine
        months then ended.

In addition, this document, which was signed by Muchmore and Foshee, reiterated the Company’s

stated belief that "open asbestos claims will be resolved without a material adverse effect on our

financial position or the results of operations."

        90.     On December 4, 2001 Halliburton, at long last, announced that a court in Orange,

Texas entered a judgment against Dresser on a $65 million jury verdict for five plaintiffs and a $35.7

settlement with one hundred other plaintiffs. Halliburton said Dresser would appeal both.

Additionally, the day before, December 3, 2001, the Company filed a Form S-3 announcing its

intention to sell $1 billion in new securities.

        91.     On December 7, 2001 Halliburton announced that a jury in Baltimore, Maryland had

returned a verdict against Dresser for five plaintiffs with Dresser's portion of the verdict totaling $30
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Million. Halliburton said that it would appeal. Halliburton also issued a December 7, 2001 Press

Release commenting on the asbestos judgments "to put them into context." It stated:

            The verdicts and judgment we reported this week were significantly outside our
            past experience. During the past several months Dresser and Kellogg Brown &
            Root have achieved favorable results in a number of other asbestos lawsuits
            where Dresser and Kellogg Brown & Root have been found to have no liability
            or relatively small amounts of liability. We believe that our management of
            asbestos claims is reasonable and effective and over time, produces better
            results than the strategies followed by some other asbestos defendants.

The release said the Texas judgment was based on "serious error" and confirmed Halliburton would

appeal these cases, adding: "If our appeals do not succeed, we have substantial insurance that we

expect will pay most of these judgments".

        92.        That day, Friday December 7, 2001, Halliburton's share price dropped from $20.84 to

10.94 closing at $12 on a volume of 76.8 million shares, the largest one day stock volume the

Company had ever experienced. Nonetheless, analyst Siegel of Wachovia Securities joined others

in concluding that “the decline in the stock is an over-reaction and a residual effect of the Enron

debacle . . . .”

        93.        Moody’s Investor Service immediately downgraded Halliburton’s debt rating outlook

as “negative” due to the negative financial implications of these revelations. A few days later,

Moody’s formally downgraded Halliburton’s debt rating. Shortly thereafter, Standard & Poor’s cut

its rating of Halliburton’s debt and commercial paper for the same reason. Analysts also downgraded

the stock. For instance, on December 7, 2001, Salomon Smith Barney issued a report on Halliburton:

        HAL: Downgrading on Mounting Asbestos Liabilities

        Summary

        •          We are downgrading Halliburton . . . due to mounting asbestos liabilities . . .
                   .
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       94.     Jeffries & Company also released a report about Halliburton, written by Sen, on

December 7, 2001. It stated:

                  Halliburton: Update On Asbestos Litigation; Stay Cautious

                                              *   *    *

       •       This morning Halliburton indicated that a Baltimore jury has awarded $30
               million in damages against a Dresser subsidiary. This follows two recent
               significant adverse verdicts against the company.

       •       These are surprising developments following management’s rather positive
               asbestos update during its 3Q01 conference call on October 23 . . . .

       •       We now believe that HAL’s asbestos-related net liabilities could be
               significantly higher than currently estimated (estimated at $125 million by the
               company).

                                              *   *    *

                Clearly, these are surprising developments following management’s rather
       positive asbestos update during its 3Q01 conference call on October 23 . . . . [W]e
       now believe that the net asbestos liability reserves of $125 at the end of 3Q01 (gross
       liability of $704) probably needs to be increased.

Nonetheless, as emphasized by Halliburton and Lesar -- and as a direct result of the Company’s

failure to fully reveal the extent of the asbestos problem, along with its continued secrecy regarding

the accounting change for Unapproved Charges – its overall rating with various services, though

downgraded, remained deceptively positive.

       95.     Each of the statements above were materially misleading, as Defendants had actual

knowledge or recklessly disregarded that the Company (i) faced billions of dollars in liability arising

from asbestos claims; (ii) was suffering more than $100 million in losses associated with its

Barracuda construction project in Brazil; (iii) failed to properly alert the market about changes in

accounting practices which lead to and investigation by the United States Securities Exchange

Commission; and (iv) failed to comply with Generally Accepted Accounting Principles (“GAAP”)
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in preparing its financial statements. Each of these statements remained uncorrected during the Class

period.

B.        Class Period Statements and Events

          96.   At the commencement of the Class Period, then, Halliburton found it necessary to

acknowledge that the juries in two open asbestos cases had issued adverse judgments making the

Company liable for over $100 million in damages. Still, Defendants continued to release misleading

public statements which – according to them – put the verdicts “into context,” but which actually

further deceived the investing public about the import of these rulings and the magnitude of the

asbestos liability Defendants knew Halliburton faced. In a similar vein, and throughout the Class

Period, Halliburton failed to correct its previous false characterizations trumpeting the benefits of the

Barracuda project, and the Company did not disclose that it had inappropriately revised its accounting

policies to count as income amounts attributable to unapproved claims on existing contracts. All the

while, Defendants knew that the Barracuda job was beset with cost overruns and would prove to be

a financial calamity for the Company. Likewise, Defendants were aware that the inevitable correction

of Halliburton’s improper treatment of Unapproved Claims would further erode investor confidence.

In summary, by December 8, 2001, the true situation at Halliburton was anything but public

knowledge.

          97.   With specific regard to its mounting asbestos problems, the Company continued to

assure the public that clear skies were just ahead, and it repeated its stated belief that “open asbestos

claims will be resolved without a material adverse affect on our financial position or the results of

operations.”    The foregoing statement was materially misleading in light of Defendants’ actual

knowledge or reckless disregard that the Company’s actual exposure to asbestos liability

exponentially exceeded that reported to investors.
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       98.       On Saturday, December 8, 2001 the New York Times published an article written by

Neela Banerjee entitled "Halliburton Battered Asbestos Verdict Stirs Deep Anxieties" that included

the following:

       Call it the Enron aftershock.

       Investors frightened by Enron's rapid demise jettisoned shares of the Halliburton
       Company yesterday after the latest in a string of asbestos- related verdicts against
       Halliburton stoked fears of mounting liabilities, analysts said.…

        "It has do with Enron," said Wesley Maat, a stock analyst who follows oil field
       service companies at Dresner Kleinwort Wasserstein. "After what happened there,
       investors seem to feel that anything is possible."…

       [T]he sudden reaction stunned Halliburton officials. David J. Lesar, chairman and
       chief executive, bristled at any comparison with Enron and said the market had
       seriously overreacted.

       "We couldn't be any more different from Enron" he said. "We're profitable, we have
       plenty of liquidity. It was a jury verdict of $30 million, and we intend to appeal."

As this article made clear, Halliburton perpetuated the belief that the December 8, 2001 drop in the

stock’s price had more “to do with Enron” than with any disclosures made by the Company. The

forgoing statements by Defendant Lesar were materially misleading in light of Defendants’ actual

knowledge or reckless disregard that the Company’s actual exposure to asbestos liability

exponentially exceeded that reported to investors.

       99.       In addition to the representations made by CEO Lesar cited in the NY Times story on

December 8, 2001 the following statements and representations, inter alia, of Halliburton were

outstanding as of that date:

       (a)       As referred to above, on October 23, 2001 Defendant Lesar and Foshee had conducted
                 an analyst's conference to discuss the record third quarter results, representing the
                 profitability of the Barracuda contract and repeating positive comments regarding the
                 asbestos issue.

       (b)       The December 7, 2001 Halliburton press release commenting on asbestos judgments
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                announcing appeals of adverse trial results and referring the financial community back
                to Halliburton's 3rd quarter 10Q and scheduling a conference call for December 10,
                2001.

        (c)     Halliburton's 3rd quarter SEC 10Q filed on November 8, 2001, signed by Morris and
                Muchmore (a "Quarterly report which provides a continuing view of a company's
                financial position") had stockholders equity at $4,597 million and contained note 7 to
                the Financial Statements that specified Halliburton had taken a net reserve of $125
                million for asbestos liability and stated " we believe that open asbestos claims will be
                resolved without a material adverse effect on our financial position or the results of
                operations."

Each of the representations reprinted above were outstanding as of December 8, 2001, remained

uncorrected throughout the Class Period, and were knowingly and materially misleading. In addition

to the rapidly deteriorating asbestos debacle, Halliburton knew by that date, and at all points

subsequent to that time, that the Barracuda contract was running into significant unapproved cost

overruns and that its asbestos liability exposure was substantial and its reserve was totally inadequate

and that it planned to alter its asbestos strategy in light of its liability risk.

        100.    On December 10, 2001, though, Halliburton conducted a teleconference and assured

investors that the asbestos verdicts were related to Harbison, that Halliburton had adequate insurance

to cover claims, and that the share price decline was a substantial overreaction. The foregoing

statement was materially misleading in light of Defendants’ actual knowledge or reckless disregard

that the Company’s actual exposure to asbestos liability exponentially exceeded that reported to

investors.

        101.    Moreover, the representations in the December 10, 2001 teleconference were

misleading because Halliburton knew the court verdicts impacted both Dresser and Harbison,

Highlands had disclaimed insurance liability for the judgments, and other insurers were facing

increasing burdens making their ability to provide coverage uncertain.

        102.    Some analysts reacted positively to Halliburton's December 10, 2001 teleconference
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by issuing or maintaining buy ratings, and Suntrust Robinson Humphrey summarized Halliburton's

teleconference as “Asbestos Reaction Exaggerated.”

       103.    On the next NYSE trading day, Monday December 10, 2001, Halliburton's stock

opened at $13.75 and for that week traded in the $13-14 range with over 124 million shares traded.

Stunningly, during that week over 45 per cent of Halliburton's shares changed hands or accounts.

       104.    Credit ratings agencies took a more cautious approach following the December 10,

2001 teleconference; on December 11, 2001, Standard & Poors cut its debt rating on Halliburton and

on December 14, 2001 Moody’s downgraded Halliburton's debt rating.

       105.    Halliburton issued a press release on December 11, 2001 commenting on Standard &

Poor's downgrading, with defendant Lesar quoted as follows: "We are pleased to see that we continue

to hold strong investment grade ratings with Standard & Poor's in light of all that has happened in the

last few days " stressing "the strength of our balance sheet." The press release cited $250 million in

cash and $2.7 billion in positive working capital. Lesar’s statement regarding “the strength of the

balance sheet” was false and misleading in light of the Company’s actual asbestos liabilities, losses

occurring on the Barracuda project, and because the Company’s financials inappropriately included

as income significant sums resulting from the Company’s improper treatment of Unapproved Claims,

as described in detail in this Complaint.

       106.    Halliburton issued a press release on December 14, 2001 entitled “Halliburton

Maintains Its Moody’s Investors Services Investment Grade Rating” with Defendant Lesar quoted as

follows: “In spite of the events of the last week, we are pleased to continue with a strong investment

grade rating reflecting a conservatively financed company with substantial resources . . . . We

believe that the combination of Halliburton’s balance sheet and the strength of our underlying core

businesses serve us well as we look to return to higher ratings in the future.” The press release
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repeated the representations that the Company had $250 million cash on hand and $2.7 billion in other

positive working capital as of October 31, 2001. Lesar’s statement regarding the balance sheet was

false and misleading in light of the Company’s actual asbestos liabilities, the losses occurring on the

Barracuda project, and the failure to disclose the impact and effect of the 1998 change in accounting

for Unapproved Claims. Lesar’s statement about a “conservatively financed company” was false and

misleading in light of its inadequate asbestos liability reserves, calculation and reliance on suspect

insurance coverage when assessing Halliburton’s asbestos liability, the failure to disclose the effect

and impact of the 1998 accounting change, and because it did not address the devastating losses

occurring on the Barracuda project.

       107.    In 2001 open asbestos claims had increased to a total of 274,000 claims up from

117,000 at year-end 2000. In other words, claims had more than doubled.

       108.    The January 4, 2002 Press Release was false and misleading because before that date

the Defendants had commenced, contemplated or discussed with Harbison-Walker, having

Harbison-Walker seek bankruptcy reorganization, including paying Harbison and using that

bankruptcy to stay claims against Dresser and include it in the bankruptcy reorganization process. In

fact, as referred to below, five weeks after this press release Harbison-Walker did file for bankruptcy

and a stay for the claims against Dresser was asked for and granted.

       109.    Via a January 15, 2001 article in the Wall Street Journal, Foshee attempted to allay

investors’ fears by boasting that “[o]ne of the things we have right now . . . is liquidity.” To be sure,

according to Foshee, the Company was so robust that it could “weather virtually any kind of a

liquidity shortage that might come our way.” The foregoing statement was materially misleading in

light of Defendants’ actual knowledge or reckless disregard that the Company’s ability to “weather

any kind of a liquidity shortage” was in doubt because its actual exposure to asbestos liability
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exponentially exceeded that reported to investors and the Barracuda contract had suffered many more

setbacks than Defendants disclosed.

       110.    On January 23, 2002 Halliburton issued a press release on its 2001 4th quarter results

describing 2001 as an "Outstanding Year," with its CEO Lesar stating: "We were disappointed that

excellent operational results were overshadowed by the market's overreaction to asbestos news, but

believe that our patient investors will be rewarded".

       111.    Defendant Lesar's statement regarding the market's "overreaction" to asbestos news

was false and misleading. Lesar was aware of Harbison's precarious financial situation and Dresser's

responsibility for the claims against it and Harbison, he knew that Halliburton was going to

financially support Harbison's bankruptcy and that Dresser would seek to have all asbestos cases

stayed by the bankruptcy court, and he knew that an expert was being retained to assess Halliburton's

asbestos liability. To characterize the market’s response as an “overreaction” was also misleading

in that it failed to account for the fact that the Company’s standing would have been more adversely

affected had the truth been known about the status of the Barracuda project and the effect of the 1998

accounting change dealing with unapproved claims.

       112.    That same day, January 23, 2002, Moody's downgraded Halliburton's credit rating.

Halliburton issued a press release that day with Defendant Lesar quoted as stressing "Moody's

decision to continue its investment grade rating". Defendant Lesar was further quoted as follows:

"Moody's has taken this step mainly because of concerns about asbestos-related litigation following

several unusual awards that we believe will not be sustained by the appellate courts. Halliburton has

successfully managed asbestos-related liabilities and settled more than 201,000 claims over a 25 year

period at an average cost of $200."

       113.    Defendant Lesar's representation that the trial results were "unusual awards" was false
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and misleading because they were not unusual in that one decision confirmed a settlement agreement

that Dresser disputed and Dresser was responsible for claims against it and Harbison. Furthermore

the representation of an average cost of $200 did not reflect the most recent history. In citing the

201,000 settled claims Lesar misleadingly tried to characterize the value of the current claims

outstanding as being in a similar range when he knew that Halliburton was set to finance Harbison's

bankruptcy and an expert was prepared to evaluate Halliburton's asbestos liability and that that $125

million net liability reserve was materially inadequate.

        114.    The January 23, 2002 press release also indicated that "Halliburton has substantial

insurance available to cover most asbestos-related defense expenses and judgments, as well as a $125-

million net reserve for such liabilities."

        115.    Halliburton's January 23, 2002 press release was materially misleading. Halliburton's

top management, including Defendant Lesar, knew that the amount of future insurance recoveries was

uncertain because of disclaimers of coverage, reservations of rights, co-insurance arrangements with

third parties which were in bankruptcy, and other insurers which were being impaired by large

asbestos claims. Halliburton knew Harbison's financial condition, knew Dresser's responsibility for

claims against it and Harbison, and knew Harbison was considering seeking bankruptcy protection

with Halliburton's financial support. Defendant Lesar and other executives also knew that the net

reserve of $125 million was materially inadequate.

        116.    In short, even in spite of the late 2001 trial results, the increase in the number of

claims, their knowledge of Harbison's financial condition and the need for an independent expert

assessment of the asbestos liability, Defendants Halliburton and Lesar continued to represent the $200

per claim value and the adequacy of the net liability reserve of $125 million.

        117.    In response, some analysts issued positive reports and in the next 5 trading days after
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January 23, 2002 over 94 million shares traded with the price rising from $10.40 on January 23 to

$13.39 at the close on January 30, 2002.

        118.    Behind the scenes, however, the Halliburton executives, including Defendant Lesar,

were worried because they knew disclosures had been inadequate and materially misleading. They

had formulated a bankruptcy plan and in late 2001 had finally hired an independent expert, Dr.

Rabinovitz of Hamilton, Rabinovitz & Alschuler Inc., to evaluate the asbestos liability. Thereafter,

in press releases dated February 22, 2002 and May 20, 2002, Halliburton announced that a stay of all

pending asbestos claims had been extended. Each of these press releases was materially misleading

because it failed to disclose that for the bankruptcy proceeding to be successful in resolving claims

against Dresser, both it and the KBR subsidiary would need to be placed in bankruptcy, and for a

reorganization plan to succeed it would require substantial payments by Halliburton and its

subsidiaries in order to satisfactorily address asbestos liabilities.

        119.    On February 14, 2002 Harbison-Walker ("Harbison") filed for Chapter 11 bankruptcy.

Halliburton financed Harbison’s bankruptcy efforts and worked in conjunction with that corporation

to, among other things, ask the Bankruptcy Court for a temporary restraining order staying 200,000

pending claims against Halliburton's subsidiary Dresser. Halliburton announced this result as a

positive development in a press release that day.

        120.    On March 12, 2002 Halliburton filed its 12/31/01 SEC Form 10-K signed by

Defendant Lesar, along with Foshee and Muchmore and other members of the Board. Significantly,

by the time the 2001 Form 10-K was signed by Defendants Halliburton and Lesar, they were aware

of cost overruns on the Barracuda project. Nonetheless, Halliburton and Lesar did not disclose these

losses or the virtual certainty of additional losses (which would ultimately reach over $700 million

and lead to the announcement that the Company would not again enter such fixed price contracts) or
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discuss the effect and potential effect on liquidity. Moreover, Halliburton did not reveal that its

income had been artificially and improperly increased by virtue of the 1998 accounting change for

Unapproved Claims. For these reasons, among others, the March 12, 2002 10-K was false and

misleading.

       121.    As part of the 2001 10-K, Defendant Lesar executed a RESPONSIBILITY FOR

FINANCIAL REPORTING commitment, which provides in relevant part,

                We are responsible for the preparation and integrity of our published
                financial statements. The financial statements have been prepared in
                accordance with accounting principles generally accepted in the
                United States of America and, accordingly, include amounts based on
                judgments and estimates made by our management. We also prepared
                the other information included in the annual report and are
                responsible for its accuracy and consistency with the financial
                statements.

                                                  ***

                Halliburton's Audit Committee of the Board of Directors consists of
                directors who, in the business judgment of the Board of Directors, are
                independent under the New York Exchange listing standards. The
                Board of Directors, operating through its Audit Committee, provides
                oversight to the financial reporting process. Integral to this process is
                the Audit Committee's review and discussion with management and
                the external auditors of the quarterly and annual financial statements
                prior to their respective filing. We maintain a system of internal
                control over financial reporting, which is intended to provide
                reasonable assurance to our management and Board of Directors
                regarding the reliability of our financial statements. The system
                includes: - a documented organizational structure and division of
                responsibility; - established policies and procedures, including a code
                of conduct to foster a strong ethical climate which is communicated
                throughout the company; and - the careful selection, training and
                development of our people. Internal auditors monitor the operation of
                the internal control system and report findings and recommendations
                to management and the Board of Directors. Corrective actions are
                taken to address control deficiencies and other opportunities for
                improving the system as they are identified. In accordance with the
                Securities and Exchange Commission's rules to improve the
                reliability of financial statements, our interim financial statements are
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               reviewed by Arthur Andersen LLP.

                                                 ***

               We have assessed our internal control system in relation to criteria for
               effective internal control over financial reporting described in
               "Internal Control-Integrated Framework" issued by the Committee of
               Sponsoring Organizations of the Treadway Commission. Based upon
               that assessment, we believe that, as of December 31, 2001, our
               system of internal control over financial reporting met those criteria.

These statements were materially misleading because they failed to reveal that the internal controls

at Halliburton were woefully inadequate because, at minimum, they (1) failed to cause correction

of the 1998 accounting change for the treatment of Unapproved Claims which was in violation of

GAAP, (2) did not compel disclosure of the dismal circumstances and significant losses surrounding

the Barracuda project, and (3) allowed Defendants to pursue their course of deceptively minimizing

the extent of Halliburton’s asbestos liability. As a result of these control infirmities, the financial

statements contained in the 2001 Form 10-K did not comply with GAAP.

        122.   Stockholders Equity as of 12/31/01 was $4,752 million. In Note 9 to the March 12,

2002 10K, Halliburton referenced the same asbestos reserve of $125 million as it had mentioned in

its 2001 3rd quarter 10Q. It also repeated, "[W]e believe that the open asbestos claims pending

against us will be resolved without a material adverse effect on our financial position or the results

of our operations." In its calculation of its reserve, Halliburton included $35 million receivable from

Highlands insurance even though a trial court had ruled against Halliburton with respect to that

insurance coverage. Halliburton stated, "We believe the Chancery Court is wrong and that the

Delaware Supreme Court will reverse and return the case to the Chancery Court for a trial on the

merits. We expect, based on an opinion from our outside legal counsel, to ultimately prevail in the

litigation."
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       123.    On March 13, 2002 the Delaware Supreme Court issued an order affirming without

opinion the judgment of the Court of Chancery in the Highlands insurance litigation completely

ruling against Halliburton. On March 14, 2002 Halliburton issued a press release with Defendant

Lesar stating "we are surprised" and announcing that the expected insurance from Highlands of $80

million would have to be written off.

       124.    Throughout the entire Class Period the Board of Directors was informed by the

executive officers, including Defendant Lesar, of the business issues of Halliburton including the

asbestos liability issues, and other such items affecting the financial statements and the disclosures

in the financial statements (such as the status of the Barracuda project) as well as the 10-Q and 10-K

SEC reports filed by Halliburton. In fact, individual directors signed the 2001 SEC Form 10-K and

some or all signed the 3rd Quarter 2001 and 1st and 2nd Quarter SEC Form 10-Q's filed by

Halliburton.

       125.    Halliburton's 2002 1st Quarter SEC Form 10-Q signed by Foshee and Muchmore was

filed on May 8, 2002. Note 8 to the financials disclosed the Dresser-Harbison spin-off agreement and

that there were 133,000 asbestos claims from Harbison products against Dresser (for which it had

only a worthless indemnification agreement from Harbison which was in bankruptcy). It referenced

the Dresser financing of the Harbison bankruptcy and a plan of reorganization to channel all the

asbestos refractory claims against Harbison or Dresser to a trust. Halliburton's reserves for asbestos

liability, however, only increased from $125 million to $168 million, reflecting only the adjustment

for the Highlands insurance write-off.

       126.    The 2002 1st quarter 10-Q stated that since 1976 Halliburton had closed 207,000

claims for a net (after insurance) cost of $309 per claim. While still failing to convey the true

asbestos liability of Halliburton, the citation of a $309 per claim figure showed that its previously
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reported $200 per claim figure was false and misleading. The 2002 1st Quarter 10-Q also explained

(as had earlier SEC filings) that the accrued reserves were only for known claims, even though it had

been receiving tens of thousands of new claims every year. It also stated, "[W]e recently retained a

leading claim evaluation firm to assist us in making an estimate of our potential liability for asbestos

claims that may be asserted against us in the future” and based on that analysis "it is likely that we

will accrue a material liability for future claims that may be asserted against us." It concluded,

however, "[W]e believe that the open liability claims currently pending against us will be resolved

without a material adverse effect on our financial position." In so doing Halliburton repeated the

ultimate conclusion of its 2001 3rd Quarter 10-Q and 2001 10-K.

        127.    The 1st quarter 10-Q was also materially misleading because it did not divulge the

dismal state of the Barracuda project or the unduly positive effect on Halliburton’s numbers caused

by the improper treatment of unapproved claims resulting from the 1998 accounting change. Other

representations in Halliburton's 2002 1st Quarter 10-Q concerning asbestos liability were false and

misleading. Halliburton's executives knew that its net liability reserve was materially inadequate and

the purpose of the reserve had always been for future asbestos exposure and that the accrual for

"material liability" that was likely would have a material adverse effect on Halliburton's financial

position.

        128.    On May 22, 2002, The New York Times published an article discussing the

accounting change secretly adopted by Halliburton during the fourth quarter of 1998. According to

the article, Halliburton was suffering from large losses on some of its long-term construction

contracts and was under tremendous pressure at the time to boost revenues as its stock price swooned

because of an oil-industry recession. The article cited interviews with former executives of Dresser,

acquired by Halliburton in the third quarter of 1998, who stated that the accounting policy was
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changed with the specific intention of masking Halliburton's declining results:

       Two former executives of Dresser Industries, which merged with Halliburton in
       1998, said that they concluded after the merger that Halliburton had instituted
       aggressive accounting practices to obscure its losses.

       Much of Halliburton's business comes from big construction projects, like natural gas
       processing plants, which sometimes ran over budget. With the policy change,
       Halliburton began to book revenue on the assumption that its customers would pay
       at least part of the cost overruns, although they remained in dispute. Before 1998,
       Halliburton had been more conservative, reporting revenue from overruns only after
       settling with its customers.

                                               ***

       Though resolving such disputes can take months or years, Halliburton decided it was
       reasonable to recognize at least part of the revenue from the claims even while they
       remained in dispute, [Company CFO] Foshee said.

                                               ***

       That explanation was disputed by the former Dresser executives who joined
       Halliburton after the merger. They said ... that Halliburton made the accounting
       change to obscure large losses on several important construction contracts.

The New York Times further reported that the accounting change was specifically approved by

Defendant Lesar, a former director of Arthur Andersen, LLP (Halliburton's outside auditor during

the Class Period), who was then President of Halliburton and now serves as the Chairman of the

Board, Chief Executive Officer, and President of Halliburton. Highlighting the importance of the

accounting change for Halliburton, The New York Times further reported that the change "came at

an important moment for Halliburton" which was "eager to win back investors' confidence after its

take over of Dresser:"

       Exactly how much of that revenue turned into profits for Halliburton is not stated in
       Halliburton's financial reports. But the impact would have been significant had
       Halliburton taken the alternative route of writing the cost overruns as losses, wiping
       out more than half of its $175 million in pretax operating profits for the fourth
       quarter of 1998, when the accounting change took effect.
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        129.     Halliburton acted immediately to counter any adverse effect of this article on

Halliburton's stock price by making an upbeat presentation to securities analysts on the same day

regarding Halliburton's future business prospects. Among other things, Halliburton told analysts

about expected cost savings and efforts to contain Halliburton's asbestos liabilities. For example, on

May 23, 2002, Reuters issued a report quoting UBS Warburg analyst James Stone as stating: "They

did a very good job of getting people to focus on the operating side of Halliburton for the first time

in six months and what they had to say was well received. I think people are getting more

comfortable that the asbestos problem is not intractable, is not going to be a death knell."

        130.    Nevertheless, on May 28, 2002 Halliburton issued a press release that it had received

notification from the SEC that the government had initiated an investigation of Halliburton's

accounting treatment of cost overruns on construction jobs. The investigation focused on the 1998

accounting change recognizing cost overruns as accounts receivable when Halliburton expected them

to be collectible.

        131.    As a result of the WorldCom disclosure, the SEC took action and on June 27, 2002

issued an order to approximately 900 companies to verify the accuracy of their 2001 10K and 2002

1st and 2nd Quarter 10Q's. Halliburton was one of the companies that received this SEC order.

        132.    On July 19, 2002, the Wall Street Journal published an article on the previously

undisclosed Halliburton offshore financing subsidiary entitled “Halliburton Created Subsidiary to

Boost Short-Term Liquidity” which included the following statements:

        Faced with fewer short-term financing options, Halliburton set up an offshore
        financing subsidiary in April to help it raise cash. . . .

        Late last year after Halliburton lost four large asbestos verdicts, credit-rating agencies
        cut the company’s investment rating, hampering its ability to get short-term capital
        at the lowest rates.
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       Doug Foshee, Halliburton’s chief financial officer, said the move has helped increase
       the company’s short-term liquidity. . . .

       Halliburton said it structured the entity as a “bankruptcy remote” subsidiary, meaning
       the assets can’t be touched if Halliburton were ever to seek bankruptcy protection.

These disclosures by Foshee and Halliburton make it clear that his and Defendants’ previous

assurances as to liquidity and a strong balance sheet were false and misleading.

       133.    On July 22, 2002 Halliburton issued a press release announcing second quarter

charges disclosing that a study by a leading econometric firm on asbestos liability had been

essentially completed. Halliburton's CEO Lesar stated "This is an important milestone for

Halliburton because it provides some certainty regarding the asbestos issues for our shareholders,

employees and customers". It further stated the amounts were still being finalized "but the charge

will be substantial and impact both continuing and discontinued operations."

       134.    The July 22, 2002 Halliburton press release also announced that its KBR unit would

record a pretax loss of $119 million in the second quarter on the Barracuda project due to

unapproved claims. These losses would continue and balloon to a $762 million loss because the

Barracuda project was a fixed price contract. Halliburton also announced that it would no longer

pursue fixed price commitments with Lesar stating, “Our decision to exit this sector of the business

stems from the growing imbalance in the risk and reward available on these offshore EPIC projects.”

Later, an April 4, 2005 article reported the General Counsel of Halliburton, Mr. Cornelison, “

believes . . . Barracuda-Creatinga was doomed financially from the start. ‘It wasn’t bid to where it

should have been bid.’” The Barracuda loss was exascerbated by the fact that the accounting change

effect of recognizing revenue for expected recovery of Unapproved Claims had already recognized

the revenue for those items but had not booked the expected loss from the huge fixed price

Barracuda project.
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C.      Post Class Period Statement and Events

        135.   On July 24, 2002 Halliburton issued a press release entitled " Halliburton Announces

Second Quarter Results-Estimate 15 Year Net Asbestos liability of $602 million". Based on its

independent study, Halliburton accrued undiscounted liability though 2017 of $2.2 billion and

insurance recoveries of $1.6 billion for a net charge of $602 million. As shown in the following

paragraphs alleged in this complaint, this statement made in its July 24 press release (repeated in its

2002 2nd Quarter SEC Form 10Q) was false and misleading when made because, without disclosing

or admitting it, Halliburton had selected the lower range of the independent expert's study (based on

the last 5 year history) without disclosing the higher $3.5 billion estimate (based on the last 2 year

history) which would require an additional $879 million net liability reserve.

        136.   After the July 22, 2002 announcement of the asbestos charge (which was made

pursuant to the lower range of the independent's expert's report), from July 22 to July 24 the

Halliburton share price dropped from a $13 level to lows of $9.97, $8.97 and $9.05, about a 25%

drop.

        137.   In July, 2002, Defendant Lesar also conceded the fundamentally flawed nature of the

Barracuda fixed-price contracting scheme, announcing that Halliburton would no longer pursue such

arrangements, stating, “our bottom line is we’re no longer going to accept that lump sum risk.” The

2002 Annual Report confirmed this decision, stating that Halliburton “will no longer pursue lump-

sum engineering, procurement, installation and commissioning (EPIC) projects for the offshore oil

and gas industry until and unless the current business model improves to allow for reasonable profits

at reasonable risks.”

        138.   On August 13, 2002 Halliburton filed its 2nd Quarter SEC 10 Q. In Note 8 to the

financial statements Halliburton stated that based on Dr. Rabinovitz's report that asbestos liability
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would be $2.2 billion, it had reserved that amount, deducting the expected insurance, with a net

reserve of $602 Million. This representation was knowingly materially misleading and false when

made because it failed to disclose the upper range of $3.5 billion of Dr. Rabinovitz's' evaluation and

the $879 million reserve that would be needed for that upper range.

          139.   Halliburton also issued a press release on August 13, 2002, reporting that Individual

Defendant Lesar and Foshee, acting pursuant to an SEC Order, had signed certification letters

affirming the accuracy of Halliburton’s 2001 10K and Forms 10Q for the first and second quarters

of 2002.

          140.   To be more precise, on August 12, 2002, Lesar and Foshee had each signed under

oath a “Statement Under Oath of Principal Executive Officer and Principal Financial Officer

Regarding Facts and Circumstances Relating to Exchange Act Filings” submitted to the SEC which

stated:

                 (1)    To the best of my knowledge, based upon a review of the covered
          reports of Halliburton Company, and, except as corrected or supplemented in a
          subsequent covered report:

                        •       no covered report contained an untrue statement of a material
                                fact as of the end of the period covered by such report (or in
                                the case of a report on Form 8-K or definitive proxy materials,
                                as of the date on which it was filed); and

                        •       no covered report omitted to state a material fact necessary to
                                make the statements in the covered report, in light of the
                                circumstances under which they were made, not misleading
                                as of the end of the period covered by such report (or in the
                                case of a report on Form 8-K or definitive proxy materials, as
                                of the date on which it was filed).

                 (2)    I have reviewed the contents of this statement with the Company’s
                        audit committee.

                 (3)    In this statement under oath, each of the following, if filed on or
                        before the date of this statement, is a “covered report”:
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                                •       Annual Report of Halliburton Company on Form 10-
                                        K for the year ended December 31, 2001;

                                •       all reports on Form 10-Q, all reports on Form 8-K and
                                        all definitive proxy material of Halliburton Company
                                        filed with the Commission subsequent to the filing of
                                        the Form 10-K identified above; and

                                •       any amendments to any of the foregoing.

        141.    Those Statements under Oath were materially and knowingly false when made

because Dr. Rabinovitz’s report and evaluation showed the net asbestos reserves in the 2001 K and

2002 1st Quarter 10Q were materially inadequate Lesar knew that the 2nd Quarter 10Q had not

disclosed the $3.5 billion upper range of Dr. Rabinovitz’s evaluation or the additional $879 million

net reserve that would be necessitated by that upper range.

        142.    At around this time, on a date unknown to Plaintiff because it was never disclosed

to the public, Halliburton commenced contact with attorney Joe Rice and his firm – a firm with a

reputation for its ability to assemble plaintiffs’ attorney groups to assure sufficient participation for

a bankruptcy packaging of asbestos claims.

        143.    In summary, from at least the 3rd Quarter of 2001 through the end of the Class Period,

Halliburton's executives, including Lesar, had knowingly failed to disclose a billion dollar plus net

asbestos liability.

        144.    Halliburton's 2002 3rd Quarter SEC 10Q repeated the $2.2 billion lower range

estimate of Dr. Rabinovitz and a net reserve of $585 million without disclosing the $3.5 billion

upper range that would have required an additional $879 million net reserve. Foshee and Muchmore

signed that 10-Q.

        145.    Dramatically, Halliburton on December 18, 2002 announced that it had reached

agreement in principle to achieve global settlement of asbestos claims for $2.775 billion in cash, 59.5
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million Halliburton shares and $100 million in notes. In sum, Halliburton's asbestos agreement was

for $2.775 billion in cash and also included an agreement to deliver the shares for over 10% of

Halliburton which meant the per share earnings and book value of each share would be materially

reduced and each share would be become a 9/10's diluted share.

        146.    On December 19, 2002, Halliburton announced that the SEC had formalized its

accounting investigation.

        147.    Halliburton’s 2002 fourth quarter results were not released until February 20, 2003,

and included a net $781 million additional charge for asbestos liability based on the upper $3.5

billion range of Dr. Rabinovitz’s study.

        148.    Halliburton's 12/31/02 SEC 10K was filed on March 28, 2003. It disclosed that Dr.

Rabinovitz's study had actually estimated a range for asbestos liability of $2.2 billion (based on a five

year history) to $3.5 billion (based on the last 2 year history). It increased the net liability reserve to

$1.366 billion and recorded a $799 million charge. The 2002 10K also disclosed that Halliburton had

not accrued the full charges of the asbestos global settlement and revealed that the asbestos

settlement would involve another $322 million charge and that expected accrual would be adjusted

for the changes share price (the accrual was based on the stock price of $18.71 at 12/31/02). The 10K

also disclosed that Harbison was in financial trouble in 2000 and that it had not accrued the

additional payments of $120 million it had agreed to pay Harbison for submitting a plan of

reorganization and upon the Bankruptcy Court’s confirmation of that plan.

        149.    On April 4, 2003 Halliburton filed two SEC Form 10-Q/A's amending the 6/30/02

10Q and 9/30/02 10-Q respectively. In both it amended the statement about Dr. Rabinovitz's study

to include the $3.5 billion estimate and stated that if that estimate had been used for the 6/30/02

quarter Halliburton would have recorded an additional charge of $879 million. In doing so
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Halliburton along with Lesar and Foshee admitted that the original 6/30/02 and 9/30/02 10Q's were

materially misleading and had material omissions and that the Statement under Oath submitted to

the SEC pursuant to the SEC's June 27, 2002 order and the certifications made as to the 9/30/02 10Q

were false and misleading.

        150.    In August of 2004 the SEC filed suit alleging extensive accounting violations and

misrepresentations resulting in a $7.5 million fine on Halliburton and $50,000 fine on Muchmore.

In addition the SEC instituted Cease and Desist proceedings and entered a Cease and Desist Order

against Halliburton making findings that Halliburton and its senior financial officers had violated

the reporting and disclosure requirements of the Federal Securities Laws and that Halliburton's

ultimate disclosure of its accounting change was misleading.

        151.    On January 20, 2005 the asbestos Bankruptcy plan of reorganization became effective

and on January 25, 2005 Halliburton announced it had completed funding of the $2.775 billion cash

payment and issued 59.5 million share of common stock (at the $42 stock price on January 25 those

shares were valued at $2.5 billion). In other words, the asbestos settlement cost more than $5.1

billion. On the other hand, the insurance recoveries were less than had been represented; in 2004,

in addition to the Equitas settlement, Halliburton settled with its other insurers for a total recovery

of $1.5 billion. The total net cost of the asbestos problem was approximately $3.6 billion.

        152.    Halliburton materially misled the investing public, thereby inflating the price of

Halliburton's securities, by publicly issuing false and misleading statements in violation of GAAP

and omitting to disclose material facts necessary to make Halliburton's statements, as set forth herein,

not false and misleading. Said statements and omissions were materially false and misleading in that

they failed to disclose material adverse information and misrepresented the truth about Halliburton,

its business and operations, including, inter alia:
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                (a)     that Halliburton's financial statements were not prepared in accordance with
                        GAAP and in accordance with the federal securities laws and SEC
                        regulations concerning fair reporting; and

                (b)     that Halliburton's financial results were the result, in part, of improper
                        accounting entries; and

                (c)     that Halliburton's estimates, projections and opinions as to its expected
                        revenues, earnings, income and value of its stock were lacking in reasonable
                        basis at all relevant times.

        153.    At all relevant times, the material misrepresentations and omissions particularized

in this Complaint directly or proximately caused or were a substantial contributing cause of the

damages sustained by plaintiff and other members of the Class. As described herein, during the Class

Period, Defendants made a series of materially false or misleading statements about Halliburton's

business, prospects and operations. These material misstatements and omissions had the cause and

effect of creating in the market an unrealistically positive assessment of Halliburton and its business,

prospects and operations, thus causing Halliburton's securities to be overvalued and artificially

inflated at all relevant times. Defendant's materially false and misleading statements resulted in

plaintiff and other members of the Class purchasing Halliburton's securities at artificially inflated

prices, thus causing the damages complained of herein.

        154.    Defendants knowingly engaged in schemes and artifices to defraud. While in

possession of material adverse nonpublic information, the Defendants engaged in the acts and

practices detailed in this Complaint in an effort to assure the investors in this class of Halliburton’s

business and financial success and prospects. They purposely made statements of untrue material

facts and concealed facts necessary in order to make the statements made, in light of the

circumstances in which they were made, not misleading. This conduct artificially inflated the price

of Halliburton stock during the Class Period and operated as a fraud on purchasers of Halliburton
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stock in the Class Period. More importantly, the sharp decline in the stock’s price which

accompanied the gradual disclosure of the truth resulted in enormous damages to the class.

Beginning with bare rumors in early January, 2002 which sunk the stock’s value to as low as $8.60

per share, the security took a number of additional hits in subsequent months as the public became

aware of other events previously concealed by Defendants which affected the Company. The

devaluations traceable to the disclosures of the accounting change in May 2002, the offshore

financing subsidiary in mid-July 2002, and the asbestos and Barracuda losses in mid-July 2002

demonstrate loss causation of a substantial magnitude – over one billion dollars. Simply put, this

was a huge fraud. Significantly, because Halliburton’s revelations in mid-July 2002 were themselves

incomplete and fraudulent, the Company is barred and cannot rely on the bounce back period

because it and the Individuals did not make adequate disclosures. As a result, it is also appropriate

to measure the damage using the traditional out of pocket method and reference the diminution of

stockholders’ equity by over $1.2 billion in 2002 as a result of the asbestos liability and Barracuda

losses and the 13% dilution of the stockholders ownership by the asbestos settlement – another loss

in excess of one billion dollars. The stock drops, the diminution of shareholders’ equity, and the

dilution of the stockholders’ ownership are statistically significant, company specific losses not due

to general stock market movements, changed economic conditions, changed investor expectations,

or company specific negative events unrelated to the alleged misrepresentations, non-disclosures,

and cover-ups.

                                   VIII. GAAP VIOLATIONS


       155.      During the Class Period, Defendants represented repeatedly that the Company’s

financial statements were prepared in conformity with GAAP. These representations were
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materially false and misleading when made because defendants, in violation of GAAP, knowingly

or recklessly employed improper accounting practices, which falsely inflated the Company’s assets

reported on the balance sheet, falsely overstated income, and understated expenses during the Class

Period. The knowing and/or reckless violations of GAAp are direct evidence of Defendants’

scienter.

        156.   GAAP, as set forth in AU 411.02, are those principles recognized by the accounting

profession as the conventions, rules, and procedures necessary to define accepted accounting

practices at a particular time. As set forth in Financial Accounting Standards Board ("FASB")

Statements of Concepts ("Concepts Statement") No. 1, one of the fundamental objectives of financial

reporting is that it provide accurate and reliable information concerning an entity's financial

performance during the period being presented. Concepts Statement No. 1, paragraph 42, states:

        Financial reporting should provide information about an enterprise's financial
        performance during a period. Investors and creditors often use information about the
        past to help in assessing the prospects of an enterprise. Thus, although investment
        and credit decisions reflect investors' and creditors' expectations about future
        enterprise performance, those expectations are commonly based at least partly on
        evaluations of past enterprise performance.

        157.   Indeed, compliance with GAAP is a fundamental obligation for reporting companies.

As set forth in SEC Rule 4-01(a) of SEC Regulation S-X, “[f]inancial statements filed with the

[SEC] which are not prepared in accordance with [GAAP] will be presumed to be misleading or

inaccurate.” 17 C.F.R. § 210.4-01(a)(1).

        158.   Management is responsible for preparing financial statements that conform with

GAAP. As noted by the American Institute of Certified Public Accountants (“AICPA”) Professional

Standards in U.S. Auditing Standards (“AU”) Section 110.03:

        The financial statements are management’s responsibility. The auditor’s
        responsibility is to express an opinion on the financial statements. Management is
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        responsible for adopting sound accounting policies and for establishing and
        maintaining internal control that will, among other things, initiate, record, process,
        and report transactions (as well as events and conditions) consistent with
        management’s assertions embodied in the financial statements. The entity’s
        transactions and the related assets, liabilities and equity are within the direct
        knowledge and control of management. The auditor’s knowledge of these matters
        and internal control is limited to that acquired through the audit. Thus, the fair
        presentation of financial statements in conformity with generally accepted accounting
        principles is an implicit and integral part of management's responsibility. The
        independent auditor may make suggestions about the form or content of the financial
        statements of draft, in whole or in part, based on information from management
        during the performance of the audit. However, the auditor’s responsibility for the
        financial statements he or she has audited is confined to the expression of his or her
        opinion on them.

        159.    As a result of accounting improprieties, Lesar caused Halliburton’s reported financial

results to violate, among other things, the following provisions of GAAP for which each Defendant

is necessarily responsible:

                a.      The principle that financial reporting should provide information that is useful

to present and potential investors in making rational investment decisions and that information

should be comprehensible to those who have a reasonable understanding of business and economic

activities (FASB Statement of Concepts No. 1, ¶ 34);

                b.      The principle of materiality, which provides that the omission or misstatement

of an item in a financial report is material if, in light of the surrounding circumstances, the magnitude

of the item is such that it is probable that the judgment of a reasonable person relying upon the report

would have been changed or influenced by the inclusion or correction of the item (FASB Concepts

Statement No. 2, ¶ 132) (SEC Staff Accounting Bulletin No. 99);

                c.      The principle that financial reporting should provide information about how

management of an enterprise has discharged its stewardship responsibility to owners (stockholders)

for the use of enterprise resources entrusted to it. To the extent that management offers securities
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of the enterprise to the public, it voluntarily accepts wider responsibilities for accountability to

prospective investors and to the public in general (FASB Concepts Statement No. 1, ¶ 50);

                d.      The principle that financial reporting should provide information about an

enterprise's financial performance during a period. Investors and creditors often use information

about the past to help in assessing the prospects of an enterprise. Thus, although investment and

credit decisions reflect investors' expectations about future enterprise performance, those

expectations are commonly based at least partly on evaluations of past enterprise performance

(FASB Concepts Statement No. 1, ¶ 42);

                e.      The principle that financial reporting should be reliable in that it represents

what it purports to represent. The notion that information should be reliable as well as relevant is

central to accounting (FASB Concepts Statement No. 2, ¶¶ 58-59);

                f.      The principle of completeness, which means that nothing is left out of the

information that may be necessary to ensure that it validly represents underlying events and

conditions (FASB Concepts Statement No. 2, ¶ 80);

                g.      The principle that conservatism be used as a prudent reaction to uncertainty

to try to ensure that uncertainties and risks inherent in business situations are adequately considered.

The best way to avoid injury to investors is to try to ensure that what is reported represents what it

purports to represent (FASB Concepts Statement No. 2, ¶¶ 95, 97);

                h.      The principle that contingencies that might result in gains are not reflected in

accounts since to do so might be to recognize revenue prior to its realization and that care should be

used to avoid misleading investors regarding the likelihood of realization of gain contingencies

(FASB No.5, Accounting for Contingencies);

                i.      The principle that financial statements disclose contingencies when it is at
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least reasonably possible (e.g., a greater than slight chance) that a loss may have been incurred

(SFAS No. 5, ¶ 10) and that financial statements disclose significant risks and uncertainties

associated with an entity’s operations (AICPA’s Statement of Position No. 94-6);

               j.      The principle that loss contingencies be recorded in the financial statements

when it is probable that an asset has been impaired or a liability has been incurred at the date of the

financial statements and the amount of the loss can be reasonable estimated (SFAS No. 5 ¶ 8);

               k.      The principle that revenue should only be recognized when it is realized or

realizable and earned (SFAS No. 5 ¶ 83).

       160.    As set forth herein, Defendants violated these fundamental principles of GAAP.

       A.      Violations of GAAP Relating to Asbestos Exposure.

       161.    As detailed above, in light of (i) the hundreds of thousands of pending claims, (ii)

the demand by a Dresser subsidiary for assistance in funding asbestos claims; (iii) the discussions

regarding the “canned” bankruptcy of the Dresser subsidiary; (iv) the bankruptcy of a number of

other companies facing asbestos liability; (v) and a history of verdicts against the company; the

prospects of additional substantial asbestos related liabilities were highly probable. By the first day

of the Class Period, Halliburton had suffered three recent verdicts against the company for asbestos

claims, which served as a clear measure of the range of values being associated with those claims.

However, despite such actual knowledge of billions of dollars in exposure, remarkably the Company

continued to reserve only a fraction of the probable and quantifiable asbestos liability.

       162.    Such conduct is a knowing violation of GAAP. SFAS No. 5, ¶ 8 establishes the

following standard for loss contingencies:

       8.      An estimated loss from a loss contingency (as defined in paragraph 1) shall
               be accrued by a charge to income if both the following conditions are met:
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                a.      Information available prior to issuance of the financial statements
                        indicates that it is probable that an asset had been impaired or a
                        liability had been incurred at the date of the financial statements. It
                        is implicit in this condition that it must be probable that one or more
                        future events will occur confirming the fact of the loss.

                b.      The amount of the loss can be reasonably estimated.


        163.    The experience of Halliburton of having incurred verdicts against the company for

asbestos liabilities, with more litigation pending, coupled with the vast losses experienced by other

companies as a result of asbestos litigation, established the probability that a liability had been

incurred by the date of the financial statements. The activities associated with the asbestos litigation

preceded the date of the financial statements. The verdicts against Halliburton and other companies

provided ample evidence for the company to establish a range of probable loss due to the remaining

asbestos litigation, which significantly exceeded the amount recorded by Halliburton for that

liability.

        164.    Moreover, these probable liabilities were plainly quantifiable. Such assertion is

evidenced on August 13,2002 in Halliburton’s second quarter Form 10-Q filing. In Note 8 to the

financial statements Halliburton stated that based on Dr. Rabinovitz's report that asbestos liability

would be $2.2 billion, it had reserved that amount, deducting the expected insurance, with a net

reserve of $602 Million. This representation was knowingly materially misleading and false when

made because it failed to disclose the upper range of $3.5 billion of Dr. Rabinovitz's' evaluation and

the $879 million reserve that would be needed for that upper range. The 10-Q provides, in part,

        Asbestos study and the valuation of unresolved current and future asbestos claims,
        and related insurance receivables. DII Industries, LLC retained Dr. Francine F.
        Rabinovitz of Hamilton, Rabinovitz & Alschuler, Inc. to estimate the probable
        number and value, including defense costs, of unresolved current and future asbestos-
        related bodily injury claims asserted against DII Industries, LLC and its subsidiaries.
        Dr. Rabinovitz is a nationally renowned expert in conducting such analyses, has been
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    involved in a number of asbestos-related and other toxic tort-related valuations of
    current and future liabilities, has served as the expert for two representatives of future
    claimants in asbestos related bankruptcies and has had her valuation methodologies
    accepted by numerous courts. Further, the methodology utilized by Dr. Rabinovitz
    is the same methodology that is utilized by the expert who is routinely retained by the
    asbestos claimants committee in asbestos-related bankruptcies. Dr. Rabinovitz
    estimated the probable number and value of unresolved current and future asbestos-
    related bodily injury claims asserted against DII Industries, LLC and its subsidiaries
    over a 50 year period; provided, Dr. Rabinovitz indicated, that the basis for
    estimation in the later years were less certain.

    The methodology utilized by Dr. Rabinovitz to project DII Industries, LLC's and its
    subsidiaries' asbestos-related liabilities and defense costs relied upon and included: -
    an analysis of DII Industries, LLC's, Kellogg, Brown & Root, Inc.'s and Harbison-
    Walker Refractories Company's historical asbestos settlements and defense costs to
    develop average settlement values and average defense costs for specific asbestos-
    related diseases and for the specific business operation or entity allegedly responsible
    for the asbestos-related diseases; - an analysis of DII Industries, LLC's, Kellogg,
    Brown & Root, Inc.'s and Harbison-Walker Refractories Company's pending
    inventory of asbestos-related claims by specific asbestos-related diseases and by the
    specific business operation or entity allegedly responsible for the asbestos-related
    disease; - an analysis of the claims filing history for asbestos-related claims against
    DII Industries, LLC, Kellogg, Brown & Root, Inc. and Harbison-Walker Refractories
    Company since January 1, 2000 (and alternatively since January 1997) by specific
    asbestos-related disease and by business operation or entity allegedly responsible for
    the asbestos-related disease; - an analysis of the population likely to have been
    exposed or claim exposure to products manufactured by DII Industries, LLC, its
    predecessors and Harbison-Walker or to Brown & Root construction and renovation
    projects; and - epidemiological studies to estimate the number of people who might
    allege exposure to products manufactured by DII Industries LLC, its predecessors and
    Harbison-Walker or to Brown & Root construction and renovation projects that
    would be likely to develop asbestos-related diseases.

    Dr. Rabinovitz's projections are based on historical data supplied by DII Industries,
    LLC, Kellogg, Brown & Root, Inc. and Harbison-Walker and publicly available
    studies, including annual surveys by the National Institutes of Health concerning the
    incidence of mesothelioma deaths. In her analysis, Dr. Rabinovitz projected that the
    elevated and historically unprecedented rate of claim filings of the last several years,
    especially as expressed by the ratio of nonmalignant claim filings to malignant claim
    filings, would continue into the future for 5 more years. After that, Dr. Rabinovitz
    projected that the ratio of nonmalignant claim filings to malignant claim filings will
    gradually decrease for a 10 year period ultimately returning to the historical claiming
    rate and claiming ratio. In making her calculation Dr. Rabinovitz alternately assumed
    a somewhat lower rate of claim filings, based on an average of the last five years of
    claims experience, would continue into the future for five more years, but we used
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    the two-year period in establishing reserves for our probable and reasonably
    estimable liabilities and defense costs as we determined it to be more appropriate and
    was also the more conservative approach.

    Based upon her analysis, Dr. Rabinovitz estimated DII Industries, LLC's total,
    undiscounted asbestos liabilities, including defense costs. Through 2017, the period
    during which we believe we have a reasonable basis for estimating under SFAS No.
    5, Dr. Rabinovitz estimated the current and future total undiscounted liability for
    asbestos claims, including defense costs would be $2.2 billion (which includes
    payments related to the approximately 312,000 claims currently pending).

    Using Dr. Rabinovitz's projections, we then conducted an analysis to determine the
    amount of insurance that we estimate is probable that we will recover in relation to
    the projected claims and defense costs through 2017. In conducting this analysis, we:
    - reviewed DII Industries, LLC's historical course of dealings with its insurance
    companies concerning the payment of asbestos-related claims, including DII
    Industries, LLC's over 15 year litigation and settlement history; - reviewed the terms
    of DII Industries, LLC's prior and current coverage-in-place settlement agreements;
    reviewed the status of DII Industries, LLC's and Kellogg, Brown & Root, Inc.'s
    current insurance-related lawsuits and the various legal positions of the parties in
    those lawsuits in relation to the developed and developing case law and the historic
    positions taken by insurers in the earlier filed and settled lawsuits; - engaged in
    discussions with our counsel; and - analyzed publicly-available information
    concerning the ability of the DII Industries, LLC's insurers to meet their obligations
    through 2017.

    Based on that review, analyses and discussions, we made judgements concerning
    insurance coverage that we believe are reasonable and consistent with our historical
    course of dealings with our insurers and the relevant case law to determine the
    probable insurance recoveries for DII Industries, LLC's asbestos liabilities through
    2017. This analysis factored in the probable effects of self-insurance features, such
    as self-insured retentions, policy exclusions, liability caps, current and anticipated
    insolvencies of DII Industries, LLC's insurers, and various judicial determinations
    relevant to DII Industries, LLC's insurance programs.

    Based on Dr. Rabinovitz's projections and our analysis of the probable insurance
    recoveries, we established reserves for the probable and reasonably estimable
    liabilities and defense costs we believe we will pay through 2017 of $2.2 billion, and
    we have also recorded receivables for the insurance recoveries that are deemed
    probable through that same date of $1.6 billion. These reserves and insurance
    receivables are included in noncurrent assets and liabilities due to the extended time
    periods involved to settle claims. In the second quarter of 2002, we recorded a pretax
    charge of $483 million. Of this pretax charge, $330 million, $268 million after-tax,
    was recorded for claims related to Brown & Root construction and renovation
    projects and was recorded under the Engineering and Construction Group segment.
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       The balance of $153 million, $123 million after-tax, related to claims associated with
       businesses no longer owned by us and was recorded as discontinued operations. The
       low effective tax rate on the asbestos charge is due to the recording of a valuation
       allowance against the United States federal deferred tax asset associated with the
       accrual as the deferred tax asset may not be fully realizable based upon future taxable
       income projections.

       165.    There is no explanation in this 10-Q filing or elsewhere as to why Defendants failed

to commission this study until some 4 years after the Dresser acquisition.

       166.    Finally, Defendants cannot argue that until July 2002 they did not appreciate the full

extent of the exposure. FAS 5 obligates the Company to make efforts to properly estimate the extent

of the exposure - an obligation Defendants failed to satisfy until the retention of Ms. Rabinovitz.

       B.      Violations of GAAP Associated with the Brazilian Construction Projects.

       167.    As discussed above, the Barracuda/Caratinga project was a fixed price contract

executed by Halliburton on June 5, 2000, requiring the Company to develop the Barracuda and

Caratinga oil fields in deep water Brazil for Petrobas in exchange for a lump sum payment of $2.5

million. Although originally heralded as the wave of the future, the Barracuda/Caratinga project was

actually beset by cost overruns and change orders, resulting in enormous losses to Halliburton.

However, these cost overruns were not timely reported to investors as required by SFAS 81-1.

       168.    Defendants knowingly and improperly hid the actual results from the Barracuda

project from investors. While repeatedly asserting in its SEC filings that “[a]ll known or anticipated

losses on contracts are provided for currently,” the Company failed to comply with such policy

despite significant losses throughout the Class Period. There is no dispute that the project was

behind schedule, that the Company was aware of such reality by virtue of the fact that as the most

significant single project it was the focus of specific review by teams of engineers and financial

specialists, and that under the terms of the contract Halliburton was susceptible to penal liquidated
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damages provisions. Despite such fact, the Company failed to properly charge-off some $119

million until the end of the Class Period.

          C.     Defendants’ Failure to Properly Apprise Market of Change in Accounting
                 Policy and the Resulting SEC Investigation.

          169.    The effect of Halliburton's undisclosed accounting change, which is referred to in

the accounting literature as a "change in accounting principle," was to materially inflate Halliburton's

revenues and earnings throughout the Class Period. Under Halliburton's previous, long-standing

accounting policy, the cost overruns would not have been "covered" by the recognition of revenue,

but recognized as losses; revenue would not have been recognized by Halliburton unless and until

the customers agreed to pay Halliburton additional amounts to cover its disputed claims or change

orders.

          170.    Halliburton's change of accounting principle and failure to disclose that change also

violated the GAAP principles set forth in Opinions of the Accounting Principles Board ("APB") No.

20. APB No. 20 states that an accounting principle should not be changed unless it can be justified

that the change results in an accounting treatment that is preferable:

          The Board concludes that in the preparation of financial statements there is a
          presumption that an accounting principle once adopted should not be changed in
          accounting for events and transactions of a similar type. Consistent use of accounting
          principles from one accounting period to another enhances the utility of financial
          statements to users by facilitating analysis and understanding of comparative
          accounting data.

          The presumption that an entity should not change an accounting principle may be
          overcome only if the enterprise justifies the use of an alternative acceptable
          accounting principle on the basis that it is preferable.

          171.    APB No. 20 further states that the nature and justification for a change in accounting

principle should be disclosed in a company's financial statements at the time it is made:

          The nature and justification for a change in accounting principle and its effect on
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        income should be disclosed in the financial statements of the period in which the
        change is made. The justification for the change should explain clearly why the newly
        adopted accounting principle is preferable.

APB No. 20 also requires a company making a change in accounting principle to specifically

disclose "[t]he effect of adopting the new accounting principle on income."

        172.    APB No. 20 defines a change in accounting principle to include not only a change

from one generally accepted accounting principle to another, but also a change in the method of

applying a particular accounting principle:

        A change in accounting principle results from adoption of a generally accepted
        accounting principle different from the one used previously for reporting purposes.
        The term accounting principle includes not only accounting principles and practices
        but also the methods of applying them.

                                                 ***

        Changes in accounting principle are numerous and varied. They include . . . a change
        in the method of accounting for long-term construction-type contracts .... [Emphasis
        in original.]

        173.    Halliburton's change in accounting principle was not disclosed or justified in any of

its pre-Class Period or Class Period financial statements nor was the enhancing effect of the change

on Halliburton's net income specifically disclosed as required by GAAP. Instead, Halliburton made

no disclosure of any change in its 1998 Form 10-K. Thereafter, in Halliburton's 1999, 2000 and

2001 Forms 10-K issued during the Class Period Halliburton merely stated that: "Claims and change

orders which are in the process of being negotiated with customers, for extra work or changes in the

scope of the work are included in revenue when collection is deemed probable." In violation of

GAAP, this statement did not reveal that a change in accounting principle had taken place, nor did

Halliburton attempt to justify the basis for such a change, why it was preferable or disclose the effect

of the change on net income. As such, Halliburton's reported financial results and financial
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statements issued during this time period were materially false and misleading when made.3

       174.     On May 22, 2002, The New York Times, published an article discussing the

accounting change first adopted by Halliburton during the fourth quarter of 1998. According to the

article, Halliburton was suffering from large losses on some of its long-term construction contracts

and was under tremendous pressure at the time to boost revenues as its stock price swooned because

of an oil-industry recession. The article cited interviews with former executives of Dresser, acquired

by Halliburton in the third quarter of 1998, who stated that the accounting policy was changed with

the specific intention of masking Halliburton's declining results:

       Two former executives of Dresser Industries, which merged with Halliburton in
       1998, said that they concluded after the merger that Halliburton had instituted
       aggressive accounting practices to obscure its losses.

       Much of Halliburton's business comes from big construction projects, like natural gas
       processing plants, which sometimes ran over budget. With the policy change,
       Halliburton began to book revenue on the assumption that its customers would pay
       at least part of the cost overruns, although they remained in dispute. Before 1998,
       Halliburton had been more conservative, reporting revenue from overruns only after
       settling with its customers.

                                                ***

       Though resolving such disputes can take months or years, Halliburton decided it was
       reasonable to recognize at least part of the revenue from the claims even while they
       remained in dispute, [Company CFO] Foshee said.

                                                ***

       That explanation was disputed by the former Dresser executives who joined
       Halliburton after the merger. They said ... that Halliburton made the accounting
       change to obscure large losses on several important construction contracts.

       3
                 A change in accounting principle is of such material significance to an informed
investment decision that the SEC specifically requires a company making such a change to provide
a letter from its independent accountants supporting the preferability of the change in the first Form
10-Q filed by Halliburton subsequent to the change. See Rule 10-01(b)(6) of Regulations S-X.
Halliburton’s did not file such a letter from its outside accounting firm, Arthur Anderson, LLP, in
connection with Halliburton’s undisclosed change.
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       175.    The New York Times further reported that the accounting change was specifically

approved by David Lesar, a former director of Arthur Andersen, LLP (Halliburton's outside auditor

during the Class Period), who was then President of Halliburton and now serves as the Chairman of

the Board, Chief Executive Officer and President of Halliburton. Highlighting the importance of the

accounting change for Halliburton, The New York Times further reported that the change "came at

an important moment for Halliburton" which was "eager to win back investors' confidence after its

take over of Dresser:"

       Exactly how much of that revenue turned into profits for Halliburton is not stated in
       Halliburton's financial reports. But the impact would have been significant had
       Halliburton taken the alternative route of writing the cost overruns as losses, wiping
       out more than half of its $175 million in pretax operating profits for the fourth
       quarter of 1998, when the accounting change took effect.

       176.     Halliburton acted immediately to counter any adverse effect of this article on

Halliburton's stock price by making an upbeat presentation to securities analysts on the same day

regarding Halliburton's future business prospects. Among other things, Halliburton told analysts

about expected cost savings and efforts to contain Halliburton's asbestos liabilities. For example, on

May 23, 2002, Reuters issued a report quoting UBS Warburg analyst James Stone as stating: "They

did a very good job of getting people to focus on the operating side of Halliburton for the first time

in six months and what they had to say was well received. I think people are getting more

comfortable that the asbestos problem is not intractable, is not going to be a death knell."

       177.    Buried in its 1999 Form 10-K, Halliburton stated that “[c]aims and change orders

which are in the process of being negotiated with customers, for extra work or changes in the scope

of work are included in revenue when collection is deemed probable.” This revelation was in direct

contravention of its previously announced practice that “[c]laims for additional compensation are

recognized during the period such claims were resolved..” Moreover, the financial impact of the
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unannounced accounting policy change was profound. For example, in 1998 the Company accrued

$89 million in unapproved claims, and $98 million in unapproved claims in 1999. The failure to

reveal this practice prevented investors from understanding the true nature of the Company’s

reported income.

       178.     Ultimately, however, Halliburton was forced to disclose that it had received

notification from the SEC of a preliminary investigation of Halliburton's accounting treatment of cost

overruns on construction projects.

       D.      Lack of Internal Controls

       179.    As discussed, defendants were obligated by law to select generally accepted

accounting principles that were appropriate to reflect the business activities of Halliburton.

Management also had the responsibility to design, implement, and maintain a system of internal

accounting controls that would provide accounting records that reflect the transactions that were

consummated by the entity, as further required by the SEC.

       180.    More particularly, Section 13 of the 1934 Act requires that:

               Every issuer which has a class of securities registered pursuant to
               Section 12 of this title and every issuer which is required to file
               reports pursuant to Section 15(d) of this title shall - -

               A.      make and keep books, records, and accounts, which, in reasonable
                       detail, accurately and fairly reflect the transactions and dispositions
                       of the assets of the issuer; and

               B.      devise and maintain a system of internal accounting controls
                       sufficient to provide reasonable assurances that - -

                       i.      transactions are executed in accordance with
                               management’s general or specific authorization;

                       ii.     transactions are recorded as necessary (a) to permit
                               preparation of financial statements in conformity with
                               generally accepted accounting principles or any other
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                           criteria applicable to such statements, and (b) to
                           maintain accountability for assets;

                   iii.    access to assets is permitted only in accordance with
                           management’s general or specific authorization; and

                   iv.     the recorded accountability for assets is compared
                           with the existing assets at reasonable intervals and
                           appropriate action is taken with respect to any
                           differences.

    181.   The Company’s pre-Class Period and Class Period SEC filings fraudulently state:

    We are responsible for the preparation and integrity of our published financial
    statements. The financial statements have been prepared in accordance with
    accounting principles generally accepted in the United States of America and,
    accordingly, include amounts based on judgments and estimates made by our
    management. We also prepared the other information included in the annual report
    and are responsible for its accuracy and consistency with the financial statements.

    The financial statements have been audited by the independent accounting firm,
    Arthur Andersen LLP. Arthur Andersen LLP was given unrestricted access to all
    financial records and related data, including minutes of all meetings of stockholders,
    the Board of Directors and committees of the Board. Halliburton's Audit Committee
    of the Board of Directors consists of directors who, in the business judgment of the
    Board of Directors, are independent under the New York Exchange listing standards.
    The Board of Directors, operating through its Audit Committee, provides oversight
    to the financial reporting process. Integral to this process is the Audit Committee's
    review and discussion with management and the external auditors of the quarterly
    and annual financial statements prior to their respective filing.

    We maintain a system of internal control over financial reporting, which is intended
    to provide reasonable assurance to our management and Board of Directors regarding
    the reliability of our financial statements. The system includes:

    - a documented organizational structure and division of responsibility;

    - established policies and procedures, including a code of conduct to foster a strong
    ethical climate which is communicated throughout the company; and

    - the careful selection, training and development of our people.

    Internal auditors monitor the operation of the internal control system and report
    findings and recommendations to management and the Board of Directors. Corrective
    actions are taken to address control deficiencies and other opportunities for
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       improving the system as they are identified. In accordance with the Securities and
       Exchange Commission's rules to improve the reliability of financial statements, our
       interim financial statements are reviewed by Arthur Andersen LLP.

                                                ***

       We have assessed our internal control system in relation to criteria for effective
       internal control over financial reporting described in "Internal Control-Integrated
       Framework" issued by the Committee of Sponsoring Organizations of the Treadway
       Commission. Based upon that assessment, we believe that, as of December 31, 2001,
       our system of internal control over financial reporting met those criteria.


       182.    Contrary to such repeated assertions, the myriad accounting problems recounted

herein were the result in part of a lack of adequate internal controls. That this was so constitutes

a failure of Halliburton and its management to comply with Section 13(b)(2)(B), which requires that

issuers must “devise and maintain a system of internal accounting controls sufficient to provide

reasonable assurances that–

       i.      transactions are executed in accordance with management’s general or specific
               authorization;

       ii.     transactions are recorded as necessary (I) to permit preparation of financial
               statements in conformity with generally accepted accounting principles or any other
               criteria applicable to such statements, and (II) to maintain accountability for assets;

       iii.    access to assets is permitted only in accordance with management’s general or
               specific authorization; and

       iv.     the recorded accountability for assets is compared with the existing assets at
               reasonable intervals and appropriate action is taken with respect to any difference”

       E.      Violation of GAAP Associated with Highlands Insurance

       183.    Throughout the Class Period, and before, Halliburton wrongfully accrued receivables

allegedly owed by the Highlands Insurance Company (“Highlands”) as a credit against its asbestos

liability. In truth, though, any amounts supposedly owed by Highlands were not probable of

collection, and they thus amounted to a gain contingency which, according to SFAS No. 5, ¶ 17,
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should not be recorded under GAAP. At one time, Halliburton owned Highlands, but the insurance

company believed that Halliburton accepted responsibility for asbestos claims filed against

Halliburton after Halliburton sold Highlands to its shareholders in 1996.

       184.    Even though Highlands had contractual support for its argument on this point,

Halliburton still accrued these receivables on its books on the off chance that the insurer might alter

its stance. Highlands, naturally, did not do so, choosing instead to file a lawsuit in Delaware

Chancery Court seeking to vindicate its position. Amazingly, Halliburton continued to carry these

receivables as assets even after this occurred, thereby overstating its financial statements by $40

million and violating GAAP in the process, which requires the write-off of receivables which are

likely not to be collected. SFAS No. 5, ¶¶ 22 & 23.

       185.    Highlands was proven correct in March of 2001, when the Delaware court ruled that

there was no obligation to provide coverage for Halliburton with regard to the asbestos claims.

Specifically, the court agreed with Highlands that the contracts executed by it and Halliburton at the

time of the sale of Highlands nullified whatever policies the insurer had written which might have

covered those claims. Halliburton promised to appeal this result, and for that stated reason it

continued to cause its financial records to reflect the same $40 million dollar receivable from

Highlands, improperly following its established practice of reducing its asbestos reserve by this

amount. Finally, in 2003, long after the expiration of the class period, Halliburton lost the appeal

and corrected its books.

                       IX. ADDITIONAL SCIENTER ALLEGATIONS

       186.    The above allegations have pled specific representation made by Defendants that were

knowingly false and misleading when made.

       187.    By December 8, 2001, Halliburton and Lesar knew very substantial facts, including
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the following:

       •         that insurers for product liability risk, including asbestos, had denied or made
                 reservations of right as to coverage;

       •         knew long before that date the apportionment of claims with Harbison-Walker would
                 place that company at risk and that Halliburton's subsidiary, Dresser, was being
                 named as a defendant in most of those asbestos cases and would be responsible for
                 liability in those cases;

       •         that the asbestos claim settlements, trials and dispositions and new claims received
                 in the past year were markedly increased from the pattern of the prior five years;

       •         that the reserves made in 2000 and 2001 were inadequate;

       •         that a competitor McDermott and a co-insurer with Halliburton, Federal Mogul were
                 in bankruptcy because of asbestos claims;

       •         that the representation made to analysts in October, 2001 relating to asbestos and the
                 financial condition of Halliburton were false and misleading;

       188.      Thereafter Halliburton and Lesar knew very material facts including the following:

       •         Knew that no material corrective disclosures by Halliburton were made with respect
                 to asbestos liability until the 6/30/02 10Q and when made in that 10Q the disclosure
                 was materially misleading;

       •         Knew that when the 6/30/02 10Q was filed it was materially misleading because the
                 expert Halliburton had hired as to its asbestos liability had given a higher range of
                 liability which would have required an additional reserve of over $879 million and
                 failed to disclose that higher exposure or higher reserve in that 10Q;

       •         Knew that the description in the 1999 10K relating to the 1998 accounting change
                 was materially misleading;

       •         Knew that by virtue of the facts cited above proper charges, expensing and reserves
                 would have to taken, substantially impacting the income statement and taking billions
                 of dollars from stockholders equity.

       189.      Indeed, on August 1, 2002 New York Times article reported that evidence existed to

prove that Dresser and Halliburton knew of the existence of significant additional asbestos liability

from the time of the Dresser merger:
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               At issue now is whether Halliburton . . . was aggressive enough in
               investigating the asbestos liabilities it was taking on in acquiring
               Dresser, and whether it adequately informed shareholders of the risks
               at the time they were asked to approve the deal.

               Previously undisclosed court documents show Dresser was notified
               a month before the merger that it might face greater asbestos liability
               from its former subsidiary than it had disclosed.

       190.    Furthermore, as previously indicated, the New York Times in May of 2002 revealed

Halliburton’s accounting shenanigans, reporting how it turned losses from cost overruns and unpaid

change order claims into profits after secretly changing how it accounted for such items. This forced

the SEC to undertake an investigation. Moreover, when the article appeared, CFO Foshee said “he

was certain that the accounting change was approved by . . . David Lesar.”

       191.    Defendant Lesar also knew that the purpose of the 10-K's and 10-Q's and the

certifications they made was to present an accurate financial picture of Halliburton when made.

       192.    Defendant Lesar knew that analysts had repeatedly posed inquiries about asbestos

liability and questions were being raised as to the accounting treatment of other companies audited

by Halliburton's auditors and the former employer of the Chief Executive Officer of Halliburton. As

numerous executives of Halliburton were trained as accountants the fact their auditors were under

investigation would have been ripe for discussion.

       193.    Defendant Lesar knew the statements made in the Halliburton 10K's for 1999, 2000,

2001 and the 2000-2002 10-Qs were false and misleading and knew that substantial material

omissions had occurred.

       194.    Further, because of the facts alleged above, the insider trades in 2000 of Individual

Defendants and other top executives of a multi-million dollar size were made with inside information

about the change in accounting policies and the potential of the asbestos liability, which raises a
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strong inference of scienter with respect to the statements made in the Halliburton 2000 and 2001

10-K's and other representations cited in this Complaint.

       195.    In sum, as alleged in this Complaint, Defendants acted with scienter in that they: (a)

knew or recklessly disregarded that the public documents and statements made were materially false

and misleading and/or omitted to state material facts necessary to make their statements not

misleading; knew or recklessly disregarded that their statements made, whether in advertising, press

releases, comments to the financial community, financial statements or in SEC documents would

be disseminated or referenced to the investing public; knowingly and substantially participated in

or acquiesced in the issuance or dissemination of such statements or document as primary violations

of the federal securities laws.

                 X. APPLICABILITY OF PRESUMPTION OF RELIANCE:
                        FRAUD-ON-THE-MARKET DOCTRINE

       196.    At all relevant times, the market for Halliburton's securities was an efficient market

for the following reasons, among others:

               (a)     Halliburton's stock met the requirements for listing, and was listed and
                       actively traded on the NYSE Stock Exchange, a highly efficient and
                       automated market;

               (b)     As a regulated issuer, Halliburton filed periodic public reports with the SEC
                       and the NYSE;

               (c)     Halliburton regularly communicated with public investors via established
                       market communication mechanisms, including through regular
                       disseminations of press releases on the national circuits of major news wire
                       services and through other wide-ranging public disclosures, such as
                       communications with the financial press and other similar reporting services;
                       and

               (d)     Halliburton was followed by several securities analysts employed by major
                       brokerage firms who wrote reports which were distributed to the sales force
                       and certain customers of their respective brokerage firms. Each of these
                       reports was publicly available and entered the public marketplace.
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          197.     As a result of the foregoing, the market for Halliburton's securities promptly digested

current information regarding Halliburton from all publicly available sources and reflected such

information in Halliburton's stock price. In these circumstances, all purchasers of Halliburton's

securities during the Class Period suffered similar injury through their purchase of Halliburton's

securities at artificially inflated prices and a presumption of reliance applies.

                                        XI. NO SAFE HARBOR

          198.      The statutory safe harbor provided for forward-looking statements under certain

circumstances does not apply to any of the allegedly false statements pleaded in this Complaint as

the statements were not forward-looking statements or otherwise covered by the statutory safe

harbor.

                                      XII. CLAIMS FOR RELIEF

                                              COUNT ONE

                                   Violation Of Section 10(b) Of
                 The Exchange Act Against And Rule 10b-5 Promulgated Thereunder

          199.     Plaintiff repeats and restates each and every allegation contained above as if fully set

forth herein.

          200.     During the Class Period, Halliburton and Defendant Lesar carried out a plan, scheme

and course of conduct which was intended to and, throughout the Class Period, did: (i) deceive the

investing public, including plaintiff and other Class members, as alleged herein; (ii) artificially

inflate and maintain the market price of Halliburton's securities; and (iii) cause plaintiff and other

members of the Class to purchase Halliburton's securities at artificially inflated prices. In furtherance

of this unlawful scheme, plan and course of conduct, defendant took the actions set forth herein.

          201.     Defendants (i) employed devices, schemes, and artifices to defraud; (ii) made untrue
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statements of material fact and/or omitted to state material facts necessary to make the statements

not misleading; and (iii) engaged in acts, practices, and a course of business which operated as a

fraud and deceit upon the purchasers of Halliburton's securities in an effort to maintain artificially

high market prices for Halliburton's securities in violation of Section 10(b) of the Exchange Act and

Rule 10b-5.

       202.     In addition to the duties of full disclosure imposed on Defendant as a result of its

making of affirmative statements and reports to the investing public, Defendant had a duty to

promptly disseminate truthful information that would be material to investors in compliance with

the integrated disclosure provisions of the SEC as embodied in SEC Regulation S-X (17 C.F.R.

Sections 210.01 et seq.) and Regulation S-K (17 C.F.R. Sections 229.10 et seq.) and other SEC

regulations, including accurate and truthful information with respect to Halliburton's operations,

financial condition and earnings so that the market price of Halliburton's securities would be based

on truthful, complete and accurate information.

       203.     Halliburton and Defendants Lesar, directly and indirectly, by the use, means or

instrumentalities of interstate commerce and/or of the mails, engaged and participated in a

continuous course of conduct to conceal adverse material information about its business, operations

and future prospects as specified herein.

       204.     Halliburton and Defendant Lesar employed devices, schemes and artifices to defraud,

while in possession of material adverse non-public information and engaged in acts, practices, and

a course of conduct as alleged herein in an effort to assure investors of Halliburton's value and

performance and continued substantial growth, which included the making of, or the participation

in the making of, untrue statements of material facts and omitting to state material facts necessary

in order to make the statements made about Halliburton and its business operations and future
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prospects in the light of the circumstances under which they were made, not misleading, as set forth

more particularly herein, and engaged in transactions, practices and a course of business which

operated as a fraud and deceit upon the purchasers of Halliburton's securities during the Class Period.

        205.    Defendants’ material misrepresentations and/or omissions were done knowingly or

recklessly and for the purpose and effect of concealing Halliburton's operating condition and future

business prospects from the investing public and supporting the artificially inflated price of its

securities.

        206.    As a result of the dissemination of the materially false and misleading information

and failure to disclose material facts, as set forth above, the market price of Halliburton's securities

was artificially inflated during the Class Period. Without knowing that market prices of Halliburton's

publicly-traded securities were artificially inflated, and relying directly or indirectly on the false and

misleading statements made by Defendants, or upon the integrity of the market in which the

securities trade, and/or on the absence of material adverse information that was known to or

recklessly disregarded by Defendants but not disclosed in public statements by Defendants during

the Class Period, Plaintiff and the other members of the Class acquired Halliburton securities during

the Class Period at artificially high prices and were damaged thereby.

        207.    At the time of said misrepresentations and omissions, Plaintiff and other members

of the Class were ignorant of their falsity, and believed them to be true. Had Plaintiff and the other

members of the Class and the marketplace known of the true financial condition and business

prospects of Halliburton, which were not disclosed by Defendant, Plaintiff and other members of the

Class would not have purchased or otherwise acquired their Halliburton securities, or, if they had

acquired such securities during the Class Period, they would not have done so at the artificially

inflated prices which they paid.
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        208.    By virtue of the foregoing, Defendants have violated Section 10(b) of the Exchange

Act, and Rule 10b-5 promulgated thereunder.

        209.    As a direct and proximate result of Defendants’ wrongful conduct, Plaintiff and the

other members of the Class suffered damages in connection with their respective purchases and sales

of Halliburton's securities during the Class Period.

                                              COUNT II

                            Violation of Section 20(a) of The 1934 Act
                                          Against Lesar


        210.    Plaintiff incorporates ¶¶ 1 to 209 by reference.

        211.    Lesar acted as a controlling person of Halliburton within the meaning of Section 20(a)

of the 1934 Act as alleged herein. By virtue of his high-level position, and his ownership and

contractual rights, participation in and/or awareness of the Company’s operations and/or intimate

knowledge of the statements filed by the Company with the SEC and disseminated to the investing

public, Lesar had the power to influence and control and did influence and control, directly or

indirectly, the decision-making of the Company, including the content and dissemination of the

various statements which Plaintiffs contend are false and misleading. Lesar was provided with or

had unlimited access to copies of the Company’s reports, press releases, public filings and other

statements alleged by Plaintiffs to be false and misleading prior to and/or shortly after these

statements were issued and had the ability to prevent the issuance of the statements or cause the

statements to be corrected.

        212.    In particular, Lesar had direct and supervisory involvement in the day-to-day

operations of the Company and, therefore, is presumed to have had the power to control or influence

the particular transactions giving rise to the securities violations as alleged herein, and exercised the
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same.

        213.   As set forth above, Haliburton and Lesar each violated Section 10(b) and Rule 10b-5

by their acts and omissions as alleged in this Complaint. By virtue of his position as a controlling

persons, Lesar is liable pursuant to Section 20(a) of the 1934 Act. As a direct and proximate result

of Lesar’s wrongful conduct, Plaintiff and other members of the Class suffered damages in

connection with their purchases of Haliburton’s common stock at artificially inflated prices during

the Class Period.

        WHEREFORE, plaintiff prays for relief and judgment, as follows:

               (a)      Determining that this action is a proper class action, designating Plaintiff as

Lead Plaintiff and certifying Plaintiff as a class representative under Rule 23 of the Federal Rules

of Civil Procedure and plaintiff's counsel as Lead Counsel;

               (b)      Awarding compensatory damages in favor of Plaintiff and the other Class

members against Defendants for all damages sustained as a result of defendant's wrongdoing, in an

amount to be proven at trial, including interest thereon;

               (c)      Awarding Plaintiff and the Class their reasonable costs and expenses incurred

in this action, including counsel fees and expert fees; and

               (d)      Such other and further relief as the Court may deem just and proper.

                                   JURY TRIAL DEMANDED

Plaintiff hereby demands a trial by jury.

Dated: April 30, 2007                          Respectfully submitted,

                                               GIBSON, McCLURE, WALLACE
                                                    & DANIELS, L.L.P.


                                                     /s/ James M. McCoy
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                                 CERTIFICATE OF SERVICE

        I hereby certify that on April 30, 2007, I electronically filed the foregoing with the Clerk of
the Court using the CM/ECF system which will send notification of such filing to the email
addresses denoted on the attached Electronic Mail Notice List, and I hereby certify that I have mailed
the foregoing document or paper via the United States Postal Service to the non-CM/ECF
participants indicated on the attached Manual Notice List.


                                                      /s/ James M. McCoy
                                                  James M. McCoy
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